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   1     complaint, which Plaintiff respectfully requests leave of court to take
   2     additional time to edit and file due to circumstances which Plaintiff has
   3     recently become apprised of, and continues to become apprised of, which are
   4     material facts to her case.
   5
   6     Dated: August 20, 2018
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  10                                                     18 4 Gamet Avenue, #239
  11                                                      Pacific Beach, CA 92109
  12                                                             Tel. 858-262-0052
  13                                                    Tiffany.Dehen@Gmail.com
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  15                                                                Pro Se Plaintiff.
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           1                         CERTIFICATE OF SERVICE
           2          The undersigned hereby certifies that a true and correct copy of the
           3    foregoing document has been served on August 20, 2018 by express
           4    delivery with signature confirmation, postage pre-paid, to all current and/or
           5    opposing counsel of record, if any to date, who are deemed to have
           6    consented to electronic service via the Court's CM/ECF system per Local
           7    Rule 5.4(d).
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           9          Dated August 20, 2018
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      6   15 U.S.C. § 2
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          17 U.S.C. § 201(a)
      8   l~ U.S.C. § 410(c)
      9   17 U.S.C. § 410(d)
          17 U.S.C. § 411(a)
     10   17 U.S.C. § 501
     11   17 U.S.C. § 502
          17 U.S.C. § 503
     12   17 U.S.C. § 504
     13   17 U.S.C. § 505
          18 U.S.C. § 241
     14   18 U.S.C. § 371
     15   18 U.S.C. § 875(d)
          18 U.S.C. § 1343
     16   18 U.S.C. § 1403
     17   18 U.S.C. § 1505
          18 U.S.C. § 1512
     18   18 U.S.C. § 1513
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            California Civil Code§ 1574
      14    California Civil Code § 1689
      15    California Civil Code § 1692
            California Civil Code § 1700
      16    California Civil Code § 1708
      17    California Civil Code § 1709
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      18    California Civil Code § 1711
      19    California Civil Code § 1714
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  26
  27                                        VIDEOS
  28                               17
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      TIFFANY DEHEN J.D.
      1804 GARNET AVENUE #239
  2   SAN DIEGO, CA 92109
      858-262-0052
  3   tiffany.dehen@gmail.com
  4
      Pro Se Plaintiff
  5
  6
  7
  8
                          UNITED STATES DISTRICT COURT
  9
                         SOUTHERN DISTRICT OF CALIFORNIA
 10
 11   TIFFANY DEREN, an individual     Case No.: 17-cv-00198-LAB-WVG
      on behalfofherse!f,
 12                                    PLAINTIFF'S SECOND AMENDED
                   Plaintiff,          COMPLAINT FOR:
 13
            v.                           (1) VIOLATIONS OF THE U.S.
 14                                          COPYRIGHT ACT; 15 U.S.C.
      JOHN DOES 1-100, TWITTER,              106 501 et seq.;
 15   INC:>. UNIVERSITY OF SAN           (2) VIOLATIONS OF THE
      DIE(jO AND PERKINS corn,               CALIFORNIA CIVIL CODE
 16   LLP.,                                  § 44 AND 45, et seq.;
                                         (3)VIOLATION OF THE
 17                Defendants.               CALIFORNIA PENAL CODE
                                             § 528.5, et seq.;
 18                                      (4) VIOLATION OF THE
                                             CALIFORNIA CIVIL CODE
 19                                          §§ 1572 or 1573, et seq.;
                                         (5)D1CCLARATORY RELIEF
 20                                          UNDER CALIFORNIA CIVIL
                                             CODE § 1692, et seq.;
 21                                      (6) INTENTIONAL
                                             INTERFERENCE WITH
 22                                          ACTUAL AND/OR
                                             PROSPECTIVE ECONOMIC
 23                                          RELATIONS·
                                         (7)INTENTIONAL INFLICTION
 24                                          OF EMOTIONAL DISTRESS;
                                         (S)NEGLIGENCT INFLICTION
 25                                          OF EMOTIONAL DISTRESS;
                                         (9}CIVIL CONSPIRACY;
 26                                      (10)      VIOLATIONS OF 18
                                             lJ.S.C. § 1962, et seq.;
 27                                      (11)      VlOLATIONS OF
                                             CALIFORNIA CIVIL CODE §
 28                                                                      \   '   ..   '~


                              1
       SECOND AMENDED COMPLAINT              No.: l 7-cv-00198-LAB-WVG
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                                                     45·
                                                  (12) ' CLAIMS OF
  2                                                  l!:XTORTION AND
                                                     CONSPIRACY TO COMMIT
  3                                                  EXTORTION.

  4
                                                  (l3kHEH:Nf£kilt·?i~~{8§·lr~ I
                                                    15 o.s.c. § 1.
  5
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  9
 10
            COMES NOW, the Plaintiff, TIFFANY DEREN, and for cause of
 11
      action against the Defendants, and each of them, seeking $100,000,000 in
 12
      compensatory, punitive, and statutory damages, complains and alleges as
 13
      follows:
 14
                                        PARTIES
 15
            I.     Plaintiff TIFFANY DEREN, is and at all times herein
 16
      mentioned, was an individual residing in the County of San Diego. She
 17
      brings this lawsuit on behalf of herself.
 18
            2.     Plaintiff is informed and believes and thereon alleges that at
 19
      all times herein mentioned Defendant TWITTER, INC. was and is a
 20
      Corporation incorporated under the laws of the State of Delaware, with its
 21
      principal place of business in San Francisco, California, doing business in
 22
      San Diego County.       Twitter manages, operates, publishes, and censors
 23
      Tweets written by users of its social media website.       Twitter has 313
 24
      million monthly active users, 1 billion unique visits monthly to sites with
 25
      embedded Tweets, and 79% of its accounts are outside of the United States.
 26
      See https://about.twitter.com/company.
 27
 28
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      SECOND AMENDED COMPLAINT                        No.: 17-cv-00198-LAB-WVG
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            3.     Plaintiff is informed and believes and thereon alleges that at
  2   all times herein mentioned Defendant UNIVERSITY OF SAN DIEGO,
  3   hereinafter "USD," was and is a for-profit education institution located in
  4   San Diego County. USO has 8,508 undergraduate, paralegal, graduate and
  5   law students, 36% of which are minority students and 9% of which are
  6   international students. See https://www.sandiego.edu/about/facts.php.
  7         4.     The true names and capacities, whether individual, corporate,
  8   associate or otherwise of Defendants, DOES I through 100, inclusive, are
  9   unknown to Plaintiff who therefore, sues said defendants by such fictitious
 I0   names. Plaintiff is informed and believes and thereon alleges that each of
 11   the Defendants herein designated as a DOE is responsible in some manner
 12   for the events and happenings herein referred to and caused injuries and
 13   damages proximately thereby as hereinafter alleged.
 14          5.    Plaintiff is informed and believes and thereon alleges that at
 I5   all times mentioned herein Defendant PERKINS COIE, LLP., was and is an
 16   international for-profit law firm, with more than 1000 lawyers in 19 offices
 17   across the United States and Asia, including an office located in San Diego,
 18   California. See https://www.perkinscoie.com/en/index.html.
 19          6.    Plaintiff is informed and believes and thereon alleges that due
 20   to the nature of the claims against all defendants, each is jointly and
 21   severally liable to Plaintiff for the injuries sustained.
 22          7.    Plaintiff reserves the right to bring additional claims against
 23   any and all named and unnamed defendants including, but not limited to,
 24   the Democratic National Committee, the Federal Bureau of Investigation,
 25   the Department of Justice, Homeland Security, the State Department, San
 26   Diego Police Department, the City of San Diego, and any individuals who
 27
 28
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      SECOND AMENDED COMPLAINT                         No.: l 7-cv-00198-LAB-WVG
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      worked at or were affiliated with the aforementioned agencies during the
  2   relevant timeframe.
  3                              JURISDICTION AND VENUE
  4           8.     This Court has subject matter jurisdiction over this action
  5   pursuant to 28 U.S.C. §§ 1331, 1338(a) and 1367.
  6           9.     Specifically, this Court has federal question jurisdiction in this
  7   matter in that Plaintiff seeks injunctive relief and damages against John
  8   Does 1-100 under the Copyright Act of 1976 (17 U.S.C. § 501-505,
  9   inclusive), under 18 U.S.C. § 1964, under 18 U.S.C. § 875, under 18
 10   U.S.C. § 1951, and reserves the right to bring any and all related causes of
 11   action, both state and federal.
 12           I 0.   This Court has supplemental jurisdiction over all other claims
 13   that do not arise under a federal statute in that these supplemental claims
 14   involves a substantial federal question and each claim is so related to the
 15   federal claim in the action, arising from a common nucleus of operative
 16   facts, that they form part of the same case or controversy under Article III
 17   of the United States Constitution pursuant to 28 U.S.C. § 1967.
 18           11.    This Court has further jurisdiction pursuant to 28 U.S.C. §
 19   1332.
 20           12.    Plaintiff avers that the amount in controversy exceeds the sum
 21   or value of $75,000.00, exclusive of interest, costs, and punitive damages.
 22           13.    This Court has personal jurisdiction over each of the
 23   Defendants because each resides in, is domiciled in and/or does systematic
 24   and continuous business in the State of California and in this judicial
 25   district.
 26           14. Jurisdiction of this Court is proper because the events described
 27   herein and injuries to Plaintiff occurred within San Diego County, and/or
 28
                                               4
      SECOND AMENDED COMPLAINT                         No.: 17-cv-00198-LAB-WVG
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      Defendants have caused injury to Plaintiff and to Plaintiff's intellectual
  2   property and other proprietary and economic interests within the State of
  3   California and in this judicial district.
  4          15.    Venue in this judicial district is proper under 28 U.S.C. §§
  5   l39l(b) and (c) and under 28 U.S.C. § 1400(a).
  6                            FACTUAL ALLEGATIONS
  7          16.    Plaintiff re-alleges and incorporates by reference paragraphs 1
  8   through 15 as though fully set forth herein.
  9          17.    Since at least 2009, Plaintiff consistency held and continues to
 10   hold an online presence of around 5,000 followers across various social
 11   media websites including but not limited to Twitter, Facebook, Instagram,
 12   Snapchat, and Linkedln.
 13          18.    Plaintiff Ms. Dehen graduated cum laude from Arizona State
 14   University in 2011 with a Bachelor of Science in Marketing from the W.P.
 15   Carey School of Business, Minor in Mass Communications from the Walter
 16   Cronkite School of Journalism and Mass Communications and
 17   International Business Certificate from W.P. Carey School of Business.
 18          19.    Ms. Dehen earned her Juris Doctor from the University of San
 19   Diego School of Law in 2.5 years with a dual concentration in Intellectual
 20   Property Law and Business & Corporate Law.
 21          20.    While in law school Ms. Dehen externed for the USO Federal
 22   Tax Clinic assisting indigent clients in their tax disputes with the Internal
 23   Revenue Service.
 24          21.    Plaintiff is self-employed and supported herself through law
 25   school by providing marketing and consulting services as an independent
 26   contractor, selling products online and obtaining federal student loans.
 27
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      SECOND AMENDED COMPLAINT                        No.: l 7-cv-00198-LAB-WVG
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            22.     Ms. Dehen invested $215,618.47 in student loans (see Exhibit
  2   62) in addition to 4.5 years of her life to increase the value of her image,
  3   likeness, brand and services by preparing for and then earning her Juris
 4    Doctor from USO with the ultimate goal of admittance to the State Bar of
  5   California.
  6         23.     Plaintiff spent the year before law school preparing and saving
  7   up for law school, took a semester off during law school to save money to
  8   complete law school, in addition to working the last 21 months and
  9   counting since completing law school to finance the costs associated with
 10   admittance to the State Bar of California.
 11          24.    In the weeks leading up to the actions that led to this cause of
 12   action, Plaintiff was actively seeking a position in the legal industry.
 13   Please see Exhibits 142 - 149.
 14          25.    Before, during, and after the injury that led to this cause of
 15   action, Ms. Dehen was, and still is, actively pursuing several business
 16   ventures which relied upon, continue to rely, and will rely upon her
 17   reputation.
 18          26.    Plaintiff is actively seeking admittance to the State Bar of
 19   California, which includes a rigorous character and background check and
 20   a strenuous test, namely the Bar exam which Plaintiff has not been able to
 21   take since graduating from law school due to financial reasons directly
 22   related to the causes of action for which this dispute arose.
 23          27.    While attending law school at USO, Ms. Dehen was subjected
 24   to harassing, terroristic behavior which ultimately led to intervention by the
 25   Federal Bureau oflnvestigation, hereinafter "FBI," through a federal
 26   criminal investigation due to the nature of terroristic statements made to
 27
 28
                             6
      SECOND AMENDED COMPLAINT                        No.: 17-cv-00198-LAB-WVG
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      her and terroristic behavior aimed towards her and other USO students.
  2   Please see Exhibits 94 - 140.
  3         28.    Ms. Dehen alleges the aforementioned criminal FBI
  4   investigation commenced in July 2016 due to alarming terroristic behavior
  5   that occurred in the several months leading up to and around the time of the
  6   Dallas Shooting in July 2016, i.e., at the height of the ISIS terrorist attacks
  7   in the U.S. and around the world broadcast on an overwhelming majority of
  8   U.S. news outlets. Please see Exhibits 94 - 140.
  9         29.    As further explained below, Photograph 2, titled, "Tiffany
 10   Pro," (see Exhibit 2), that John Doe(s) illegally used to create Infringing
 11   Work #6 (see Exhibit 13), was taken from Ms. Dehen's Linkedln profile.
 12          30.   To further corroborate the direct evidence regarding the
 13   identities of at least John Doe 1-2, two individuals from USO Law School
 14   viewed Ms. Dehen 's Linked In profile in the immediate days leading up to
 15   the creation and execution of the unlawful Twitter account. See Exhibit 52.
 16          31.   The conduct which ultimately resulted in direct intervention
 17   by the FBI including the aforementioned federal criminal investigation is
 18   linked to conduct that occurred on USO property, at USO sponsored
 19   events, and in connection with USO students.
 20                              University of San Diego
 21          32.   USO ensnared Plaintiff in a fraudulent scheme nationwide to
 22   sell safe education.
 23          33.    USO uniformly misled Plaintiff more than once that she would
 24   learn at USO in safety.
 25          34.    USO promised a safe university, which it did not deliver.
 26
 27
 28
                             7
      SECOND AMENDED COMPLAINT                        No.: 17-cv-00198-LAB-WYG
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            35.     USO expressly set out to leverage its commitment for safety.
  2   For example, on the USO website, USO expressly states it is, "[ c]omitted
  3   to safety through education." See https://www.sandiego.edu/safety/.
  4         36.    The USO Public Safety webpage continues:
                          The Department of Public Safety is located on the south
  5   side of Hughes Administration Hall, and is open 24 hours a day, 7 days a
      week. The Department of Public Safety supports the mission and goals of
  6   th~ Univer~ity of San Qiego by providing a full r~nge of com!Tlunity-
      onented cnme prevent10n and cnme control services to contnbute to the
  7   safety and security of the campus community. This is not a job that we can
      do alone. Your help is essential.
  8
                    See https://www.sandiego.edu/safety/.
  9
            37.     Defendant USO marketed USO as a safe university.
 10
            38.     USO expressly claims to keep a record of crime alerts
 11
      "provided to keep all members of the University of San Diego community
 12
      up to date with and aware of all ongoing criminal acts." See
 13
      https ://www. sand iego/edu/safety/prevention/alerts. php.
 14
            39.     USO expressly states:
 15                        Our Public Safety Officers are responsible for a wide
      range of activities, including developing crime prevention programs, taking
 16   crime and accident reports, initiating investigat10ns, responding to medicar
      and fire emergencies, controlling parking ano traffic, and enforcing certain
 17   local and state laws, as well as rules developed by the University to address
      campus-related concerns. Emergencies on campus should be reported
 18   directly to the Department of Public Safety by dialing extension x2222
      from any on-campus phone, 24 hours a day.
 19
                    See https://www.sandiego.edu/safety/about/.
 20
             40.   USO expressly provides:
 21                       The University of San Diego De~artment of Public
      Safety is committed to the support of the Universit¥ s greater mission of
 22   excellence in education and service to the commumty. As an integral part
      of the University, we pledge ourselves to a continuing partnership with the
 23   campus community to provide a safe and secure environment through
      community based public safety. We will achieve our goals by service to the
 24   ~ommunity thiJ.t reflects respect for the law, dignity oral! persons and pride
      m our profession.
 25
                    See https://www.sandiego.edu/safety/about/mission.php.
 26
             41.    USO expressly provides its Department of Public Safety motto
 27
      as follows:
 28
                                             8
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                           Service to Our Community. People in our campus
      community are our most important customers. Our motto: "Committed to
      Safety Through Education" 1s not just a slogan it is our way of life. We
 2    pledge to work in partnership witli the USO community and do our best to
      provide for its public safet)I needs. Commitment to Integrity. Integrity is
  3   our standard. We are proua of our profession and will conduct ourselves in
      a manner that merits the respect of all people. We will demonstrate honest,
 4    ethical behavior in all our interactions. We must have the courage to     ·
      always do what is right. Respect for People. The dignity of mankind is a
  5   value that we treasure. We believe in treating all people with respect. We
      show concern for the victims of crime and treat violators of the law with
  6   fairness at all times. Commitment to Leadership. Managers supervisors
      and team leaders need to be leaders in their areas of responsibility. Making
  7   certain that our values become part of our day to day work life is our
      mandate. We encourage our emplo)lees to submit ideas, we listen to their
  8   suggestions, and we help them develop to their maximum potential.
  9                See https://www.sandiego.edu/safety/about/mission.php.
 10         42.    USD expressly provides:
 11                        Hate Crimes/Acts of Intolerance
                           USD is a diverse community of which we are proud.
 12   Sometimes, some of our newer students come from environments that are
      not as rich m cultural and religious diversity. Hateful speech and conduct
 13   against others of different backgrounds and cultures is unacceptable at a
      universit)I which prides itself on the recognition of the dignity of each
 14   individual (USD Mission Statement). "The university is committed to
      creating a welcoming, inclusive and collaborative community accentuated
 15   by a spirit of freedom and charity; and marked by protection of the rights
      and dignity of the individual. Tne university values students, faculty and
 16   staff from different backgrounds and faith traditions and is committed to
      creating an atmosphere of trust, safety and respect in a community
 17   characterized by a rich diversity of people and ideas." Harassment of
      others because of a persons race, religion, ancestry, national origin
 18   disability, gender, sexual orientation, or because lie/she perceives that the
      other person has one or more of these characteristics is against the law and
 19   will not be tolerated by the University. Severe disciplinary action and
      possible criminal prosecution will follow.
 20
                   See https://www.sandiego.edu/safety/reporting/hate-crimes/.
 21
             43.   University of San Diego provides a Code with Rules of
 22
      Conduct outlining specific prohibitions, policies, and procedures that each
 23
      student is responsible for understanding and following.
 24
             44.   USD Rules of Conduct can be found online at:
 25
      https://www.sandiego.edu/conduct/the-code/rules-of-conduct. php.
 26
             45.   The USD Rules of Conduct provide the following:
 27                The following conduct is prohibited on University premises or
                   at University events, wherever they may occur. This same
 28
                                             9
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                   conduct, though occurring off University premises and not at
                   University events, may nonetheless be su&ject to University
                   sanctions when it adversely affects the University, its
  2                educational mission or its community. Violation of these
                   standards, policies, and procedures may subject an individual
  3                or group to disciplinary action as determinea by the Assistant
                   Vice President for Student Affairs/Dean of Students or his or
  4                her designee, pursuant to the provisions of the Code.
  5         46.    The Rules outlined in the Code of Conduct include, in relevant
  6   part, the following:
                     2. Disruption of teaching, research, administration, conduct
  7                  proceedings or any other institutional activity.
                     3. Abuse of any person, including but not limited to physical
  8                  abuse, threats, verbal intimidating, harassment, stalking1
                     coercion and/or other conduct wfoch threatens the healtn or
  9                  safety of any person.
                     6. Conduct tliat is disorderly, lewd, indecent or obscene.
 IO
            47.    Upon information and belief, Plaintiff and University of San
 11
      Diego entered into a written contract pursuant to the aforementioned Code
 12
      of Student Conduct when M.s. Dehen enrolled in the USO School of Law in
 13
      August 2013 and again in January 2015 when Ms. Dehen re-enrolled in the
 14
      USO School of Law. Plaintiff alleges USD has a copy of a signed
 15
      agreement in the form of signed acknowledgement of the student code of
 16
      conduct and is better positioned to present the original copy to the Court
 17
      during discovery. In the absence of a signed contract. there is an implied
 18
      contract that the students attending University of San Diego will abide by
 19
      the Student Code of Conduct.
 20                                                                                  ~   j Formatted: Indent:   First line: 0.5"
            1!L__In consideration of Plaintiff accepting USD's offer to attend
 21
      USD law school, paying USD over a hundred thousand dollars for
 22
      education and agreeing to abide by the student code of conduct, USD
 23
      promised to provide a safe learning environment to Plaintiff, free of threat
 24
      of physical harm and free of the school violating federal law to Plaintiff's
 25
      harm. Plaintiff alleges USD Law Financial Office expressly confirmed its
 26
      alleged commitment to follow and abide by federal law both in writing and
 27
      orally on numerous occasions to Plaintiff personally.
 28
                             10
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                                           JOHN DOES
  2         48.    Plaintiff alleges that ifl l'lovemeeron Tuesday, October 20,
  3   2015 on USD campus during a USD sponsored event, the USD Law
  4   School October "Dean's Mixer", a USD law student named Mr.
  5   Mohammed Alv openly declared himself to be an enemy combatant of the
  6   United States by openly declaring himself to be in an ISIS sleeper cell in
  7   the presence of Plaintiff aRd at least eRe eH1er, another studenh named Mr.
  8   Kevin Snow, and a third student named Mr. Eidon Hamamlow whom got
  9   distracted and spoke with a professor during Mr. Aly's !SIS comments.
 10   Please see Exhibits 130- 139~ and Exhibit xxx.
 11                '19.   Plaintiff alleges a st>ulent witness of the terrorist remark
 12   IB!ef Plaintiff alleges that on October 20, 2015, Mr. Aly (thought to
 13   comprise John Doe    I)   said to Plaintiff (in the presence of Mr. Kevin Snow),
 14   "I'm in an lSIS Sleeper Cell." Plaintiff was angered by this comment
 15   which she presumed was made in retaliation of a prior Facebook
 16   conversation in which she supported Mr. Donald J. Trump for President
 17   that ended when Ms. Dehen blocked Mr. Aly after he made vicious lewd
 18   comments directed towards Plaintiff. Ms. Dehen replied to Mr. Aly, "what
 19   do you mean by "sleeping"?" To which Mr. Aly replied, "until l'm
 20   activated," with a smug look of satisfaction on his face. Mr. Snow, whom
 21   Plaintiff did not know by name at the time, laughed at the exchange and
 22   Mr. Hamamlow was conversing with a professor at the time of the
 23   exchange. Plaintiff's recollection of the event was true and accurate on
 24   October 20, 2015 and remains true and accurate, as it was a memorable
 25   event which inflicted extreme emotional distress on Plaintiff. so much so
 26   that she was late to her Corporate Taxation class with Professor Howard
 27   Abrams, prompting Professor Abrams to yell at Ms. Dehen out of
 28
                             11
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      frustration to the point where Professor Abrams apologized to Ms. Dehen
 2    the following class period because the behavior was out of character.
  3   Directly after class on October 20. 2015, Ms. Dehen attempted to call
  4   several friends and family members to discuss the traumatizing event
  5   causing ongoing distress to Ms. Dehen.
  6         49.    Plaintiff alleges the student witness of the terrorist remark, Mr.
  7   Kevin Snow, publicly declared himself to be actively engaging in terrorism
  8   in March 2016 after engaging in threatening behavior which disrupted the
  9   entire university and sent the law school student body and faculty into a
 10   widespread panic which interrupted normal business operations on campus
 11   for several days, weeks for some individuals, including Plaintiff. Please
 12   see Exhibits 94- 139.
 13         On Wednesday. March 9, 2016 at 8:38 p.m., Ms. Dehen emailed
 14   USD Law School Dean D' Angelo screenshots of her Facebook
 15   conversation with Mr. Kevin Snow from that day where Ms. Dehen said to
 16   Mr. Snow, "hey kevin I'm not sure if we have talked a whole lot but I just
 17   wanted to check in and see how you're doing. I went through a lot of stress
 18   last year so I can relate if you want to talk about anything? I'm worried
 19   about you". Please see Exhibit 97.
 20         To which Mr. Snow responded. "Who the fuck are you?????????
 21   Fuck off Nazi bitch I'm better than I've ever been guit trying to make me
 22   someone that should give a shit about you the only reason you're my
 23   Face book friend is because you're amazed at what I'm doing with my life.
 24   Fucking Nazi. Wtf. Don't pretend like I don't know you're on the deck
 25   right now. She does nothing." Please see Exhibit 97.
 26
 27
 28
                             12
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            Ms. Dehen responded, "I'm not on your deck l'm at my house. I am
  2   really worried about you." Please see Exhibit 97. Mr. Snow responded,
  3   "If you want friends go join the Ben Carson campaign." Id.
  4         On Thursday, March 10, 2016 at 7:14 a.m., Ms. Dehen emailed Dean
  5   D' Angelo, Dean Ferruolo and Professor Sichelman, "Obviously the matter
  6   has not been resolved and he is still not being helped. "Liberation day"
  7   does not sound good. Everyone is scared of his unpredictability. l haven't
  8   been able to find one person who is close to him. He is very antisocial.
  9   Not good signs," with a .PNG image attached, further explained below.
 10   Please see Exhibit 103.
 11         On or around March I 0, 2016, Mr. Snow posted on Facebook, "I am
 12   Still building the bonfire for the 420Am roast and commencement of Russ.
 13   Today is day four. The last day of attending class. Liberation day. Or as
 14   we like to say, Prude day because it's the last day of getting slut shamed by
 15   the virgin Catholics g0ys and also the last day our/their Nazi Catholic kids
 16   are virgins. #bitchimmadonna," and "Eight hours a night. [devil emoji] Ha
 17   [devil emoji] ha [devil emoji] ha [devil emoji] what is this a Nazi prom?"
 18   Please see Exhibit I 04.
 19         The threatening behavior consisted of, among other things, tlie
 20   st>iEieRI ealliRg all USO lawMr. Snow accosting students Hazi's, as well as
 21   persoRally and direetly ealling PlaiRtiff a J>lazi, aacl eAgagiRg iH alarmiagon
 22   campus, disrupting classes for two weeks leading up to the incidents being
 23   publicly recognized by USD, threatening statements on social media made
 24   with the intent to incite mass hysteria on USD campus and making
 25   statements directed towards Plaintiff personally which, considered in
 26   totality of the circumstances, led Plaintiff to reasonably believe her safety,
 27
 28
                             13
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       Mr. Snow's safety. and/or the safety of fellow USD students and faculty
  2    were at stake.
  3          To view a sampling of Mr. Snow's behavior further shown in and
  4    statements, as well as a sampling of the email exchanges occurring between
  5    students such as Plaintiff and the University of San Diego during this time
  6    period, please see Exhibits 94-:: 139.
  7          On or around March 10. 2016. Mr. Snow posted on Facebook. "I-las
  8    Obama not delivered on his promises???? I-la. I just got the email excusing
  9    me of terrorism. I-la. Omg. What do we have to do to appease these Nazis?
 I0    [fourteen car emoji's] ha". Please see Exhibit 114.
                                                                                     ..-- -- -[ Formatted: Indent: First line: 0.5"
 11          Ms. Dehen alleges various students expressed fear, to both Ms.
 12    Dehen and to USD, that this student brought a bomb to school and/or was.
 13    planning to harm himself and/or USD students and faculty. Please see
 14    Exhibits 94 - 139.
 15          50.    In March 2016 PlaintiffaRE!relayed. on more than one
 16    occasion. in addition to several other students and faculty members at USD
 17    relayed, en mere than ene eeeasienfor at least two weeks leading up to the
 18    incident documented in Exhibits 94 - 139, the alarming erratic behavior to
 19    USD Law Administration, USD Administration, the President of USD,
 20    USD Department of Public Safety, San Diego Police Department, as well
 21    as various attempts to federal and state agencies by Plaintiff personally.
 22    Please see Exhibits 94 - 139.
 23           Plaintiff's mother, Mrs. Lili Dehen, was in contact with Mr. Snow's
 24    mother, Mrs. Katherine Snow. in the days proceeding the March 2016
 25    incident in which she expressed to Mrs. Dehen that USD would not help
 26    her obtain medical or other help for her son. Please see Exhibits 125 - 128.
 27
  28
                              14
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            51.    Plaintiff alleges USO not only failed to adhere by federal law
  2   in dealing with sensitive allegations such as the ones Plaintiff personally
  3   relayed to USO, but USO went so far as to shut down the local law
  4   enforcement investigation and refused to cooperate with federal law
  5   enforcement to Plaintiff's detriment. Please see Exhibits 94 - 139.
  6         52.    Not only did USO fail to adequately address the serious
  7   threats which threatened to harm and actually harmed Ms. Dehen as USO
  8   expressly represented it would, but USO gave preferential treatment to both
  9   aforementioned students, whom Plaintiff alleges comprise John Does 1 & 2
 10   in this litigation. Not only did neither student face disciplinary action, but
 11   both students received preferential treatment to complete their schooling.
 12   Please see Exhibits 94 - 139.
 13         53.    Due to USD's failure to address the serious situations as it
 14   promised repeatedly it would do in its stated policies as well as express
 15   repeated promises made during the situations by agents of USO to Plaintiff
 16   and several other law students and faculty members, the situations
 17   escalated to the point where the Federal Bureau oflnvestigation intervened
 18   in July 2016 when one of the aforementioned self-proclaimed enemy
 19   combatants of the United States stalked Plaintiff at her residence in San
 20   Diego, California. Please see Exhibits 94 - 139.
 21         54.    Plaintiff lived, and continues to live, in grave fear of danger to
 22   her personal body, safety, economic interests, personal relationships, family
 23   members' and friends' safety, among other injuries for which Plaintiff can
 24   and will prove to this Court through this litigation.
 25          55.   Plaintiff alleges USO became aware of the serious allegations
 26   in March 2016. Plaintiff alleges USO then owed a heightened duty to
 27   Plaintiff beginning in or around March 2016 when it was put on notice of
 28
                             15
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      the serious behavior in violation of both federal and state law, which it
                                                                                   __ --( Formatted: Font color: Black
  2   failed to uphold, hence this litigation. Please see Exhibits 94 - 139. ~--




  3         On Friday. July 8. 2016 at 10:51 p.m., Ms. Dehen emailed Professor
  4   Sichel man, the professor who ultimately ensured Department of Public
  5   Safety became involved with the Mr. Snow matter after disruption of the
  6   MBE class, to inform him of Mr. Aly's !SIS sleeper cell comments made in
  7   2015 after Ms. Dehen read an article from Drudge Report regarding ISIS
  8   Sleeper Cells being activated. Please see Exhibit I30.
  9         On July 9, 2016, when Plaintiff was still a student at USD Law
 10   School and actively attending two summer school classes, Professional
 11   Responsibility and an externship with the USD Federal Tax Clinic. Mr. Aly
 12   stalked Ms. Dehen at her residence in Pacific Beach, CA no more than 8
 13   hours after Ms. Dehen emailed Professor Sichelman regarding the
 14   comments Mr. Alv made to Ms. Dehen in 2015. Please see Exhibit xxx.
 15          Ms. Dehen saw Mr. Aly outside her building at or around 9:30 a.m.
 16   on .Julv 9, 2018 and immediately called Ms. Stephanie Myers, an
 17   acquaintance of Ms. Dehen whom has federal clearances with the
 18   Department of Defense and Homeland Security. Please see Exhibit xxx.
 19          Ms. Dehen's neighbors witnessed Mr. Aly outside Ms. Dehen's
 20   building at 6:30 a.m. sitting in his car with the engine running and
 21   confirmed with Ms. Dehen on July 10, 2018.
 22          On July 11, 2018, Ms. Dehen emailed the President of USO
 23   requesting increased security presence on campus until the end of her
 24   summer term at USD. Please see Exhibit xxx.
 25          On July 12, 2018, Ms. Dehen emailed the Department of Public
 26   Safety at USO, specifically Captain Quinton Kawahara, and Law Schools
 27   Deans Dean Ferruolo and Dean D'Angelo. Please see Exhibit 132.
 28
                             16
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            On July 19, 2018, Ms. Dehen received the business card from Mt'.
  2   Chuck Milks, Detective I Task Force Officer with the San Diego County
  3   Sheriff's Department, San Diego Joint Terrorism Task Force address at
  4   10385 Via Sorrento Parkway, San Diego, CA 92121, same address as the
  5   Federal Bureau oflnvestigation. Please see Exhibit 133.
  6         On July 20, 2018, Detective I Task Force Officer Milks interviewed
  7   Ms. Dehen at her residence at 4621 Lamont St. #SA, Pacific Beach, CA
  8   92109. Please see Exhibit 135.
  9         On or around July 21, 2018, Ms. Dehen found a blank card mailed to
 10   her on July 25, 2016 from San Diego with no return address and nothing
 11   written on in the inside. Please see Exhibit 140. Ms. Dehen alleges the
 12   handwriting is Mr. Aly's handwriting, which she is familiar with from
 13   Professor Brooks' Fall 2015 Civil Rights class. Please see Exhibit xxx,
 14         [Mr. Aly has been licensed since December 2016 - put all newly
 15   discovered information from prior filings about Mr. Aly's arrests and
 16   subsequent illegal activities here.]
 17                                          Twitter
 18         56.     Ms, Dehen and Twitter entered into a written contract pursuant
 19   to the terms ofTwitter's user agreement on er aaeut October 9, 2015. See
 20   Exhibit 53.
 21          57.    Ms. Dehen created her Twitter account, i.e., entered into the
 22   user agreement with Twitter, with the reasonable expectation that Twitter
 23   would fulfill its own express promises and enforce its expressly stated
 24   policies and rules,
 25          58.    Twitter provides a policy for restricting access to its business,
 26   titled, "The Twitter Rules," and can be found online at:
 27   https://support.twitter.com/articles/18311,
 28
                             17
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  1          59.   Pertaining to hateful conduct, Twitter's rules provide, in
  2   relevant part, the following:
                      You may not promote violence against or directly attach or
  3   threaten other people on tlie basis of race, ethnicity, national origin sexual
      orientatio,i;, gender, gender identity, religious affiliation, age disability, or
  4   disease. we also do not allow accounts whose primary purpose is inciting
      harm towards others on the basis of these categories.
  5
                    See https://support.twitter.com/articles/18311.
  6
             60.    Twitter provides an Impersonation Policy that can be found
  7
      online at: https://support.twitter.com/articles/18366.
  8
             61.    Twitter's Impersonation Policy provides, in relevant part, the
  9
      following:
 10               Impersonation is a violation of the Twitter Rules. Twitter
      accounts portraying another person in a confusing or deceptive manner
 11   may be permanentfy suspended under the Twitter impersonation policy.
 12                 See https://support. twitter.com/articles/18366.
 13          62.    Twitter's Impersonation Policy further provides, "[i]n order to
 14   be impersonation, the account must also portray another person in a
 15   misleading or deceptive manner."
 16                 See https://support.twitter.com/articles/18366.
 17          63.    Jn Twitter's Impersonation Policy, Twitter promises:
                    Upon receipt of an impersonation report, we will investiffiate
 18   the reported accounts to determine ifthe accounts are m violation ofte
      Twitter Rules. Accounts determined to be in violation of our impersonation
 19   policy, or those not in compliance with our parody, commentary, and fan
      account policy, will either be suspended or asked to update the account(s)
 20   so they no longer violate our policies.
 21                 See https://support.twitter.com/articles/20170142.
 22          64.    Twitter provides a Hateful Conduct Policy, that can be found
 23   online at: https://support.twitter.com/articles/20175050.
 24          65.    Twitter's Hateful Conduct Policy provides, in relevant part,
 25   the following: "[w]e do not tolerate behavior that harasses, intimidates, or
 26   uses fear to silence another person's voice." See
 27   https://support.twitter.com/articles/20175050.
 28
                             18
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            66.     Twitter's Hateful Conduct Policy provides the following:
                    Examples of what we do not tolerate includes, but is not
  2   limited to, behavior that harasses individuals or groups of people with:
      violent threats; wishes for the physical harm, death, or disease of
  3   individuals or groups; references to mass murder, violent eventshor specific
      means of violence m which/with which such groups have been t e primary
  4   targets or victims; behavior that incites fear about a protected group;
      repeated and/or non-consensual slurs, epithets, racist and sexist tropes, or
  5   other content that degrades someone.
  6                 See https://support.twitter.com/articles/20175050.
  7         67.     Twitter's Hateful Conduct Policy further provides the
  8   following: "[ w]e enforce policies when someone reports behavior that is
  9   abusive and targets an entire protected group and/or individuals who may
 10   be members." See https://support.twitter.com/articles/20175050.
 11         68.     Plaintiff and Twitter entered into a written contract including
 12   the terms set forth above at the time Plaintiff accepted Twitter's Terms of
 13   Use and activated her account on October 9, 2015 at 11 :11 p.m. See
 14   Exhibit 53.
 15         Ironically, Plaintiff's overwhelming motivation for rejoining the
 16   flawed social networking platform she left years prior was to follow and
 17   tweet to then-Presidential Candidate Donald J. Trump and supporters of
 18   Mr. Trump's Make America Great Again movement, evidenced by her early
 19   tweets to and follows of Donald J. Trump C@realdonaldtrump), individuals
 20   close to him, and influential individuals supportive of him and his
 21   movement.
 22                           Additional Background Facts
 23          69.    Upon information and belief, there is no other "Tiffany
 24   Dehen" in existence, nor is there any other individual using the name
 25   "Tiffany Dehen" to sell products or render consulting, marketing, or legal
 26   services anywhere in the United States, or anywhere in the world.
 27
 28
                             19
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                70. · Merriam Webster Dictionary's definition of Nazi provides the
  2       following:
      .                (1) a member of a German fascist party controlling Germany
  3       from 1933 to 1945 under Adolf Hitler; 12) often not capitalized; (a) one
          who espouses the beliefs and policies of the German Nazis: Fascist; (b) one
  4       who is likened to a German Nazi: a harshly domineering, dictatorial, or
          intolerant person; a grammar nazi.
  5
                       See https://www.meriam-webster.com/dictionary/Nazi.
  6
                71.    Encyclopedia Britannica's definition of Nazi Party provides
  7
      the following:
  8                 Nazi Party byname of National Socialist German Workers'
      Party, German Nationafsozialistische Deutsche Arbeiterpartei (NSDAP), a
  9   political part of the mass movement known as National Socialtsm. Under
      the leadership of Adolf Hitler, the party came to power in Germany in 1933
 10   and governed by totalitarian methods until 1945.
 11                    See https://www.britannica.com/topic/Nazi-Party.
 12             72.    Merriam Webster ~ictionary's definition of Swastika provides
 13       the following:
                        (1) A symbol or ornament in the form of a Greek cross with
 14       the ends of the arms extended at right angles all in the same rotary
          direction; (2) a swastika used a symbol of anti-Semitism or of Nazism.
 15
                       See https://www.merriam-webster.com/dictionary/swastika.
 16
                73.    Ms. Dehen is not a member of the National Socialist German
 17
          Workers' Party (colloquially known as the Nazi Party), nor the Ku Klux
 18
          Klan (colloquially known as the KKK).
 19
                74.    Further, Ms. Dehen has no relatives that were involved in
 20
          either the National Socialist German Workers' Party or the Ku Klux Klan.
 21
                75.    Ms. Dehen's late grandfather was CaptaiARetired Colonel
 22
          John D. Raikos, awarded the following decorations for his role in the 83rd
 23
          Infantry of the United States Army in World War II: Combat Infantryman
 24
          Badge, Silver Star Medal, Bronze Star Medal with Oak Leaf Cluster,
 25
          Purple Heart with Oak Leaf Cluster, Good Conduct, American Campaign
 26
          Medal, WWII Victory Medal, and the BAME Campaign Medal with 5
 27
 28
                                 20
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      Bronze Stars for the Five Campaigns. See Exhibit 1 or visit
 2    http://www.normandytothebulge.be/83rd_JRaikos.html.
 3          76.    Notably, Ms. Dehen's late grandfather,   Ca~tainRetired   Colonel
 4    John D. Raikos, was honored with the esteemed citation from Yorn
  5   H'ashowa Holocaust Remembrance for his role with the 83rd Division's
  6   liberation of Nazi concentration camps. See Exhibit 1 or visit
  7   http://www.normandytothebulge.be/83rd_JRaikos.html.
  8         77.    Upon information, belief, and research into Ms. Dehen's
  9   family tree, Ms. Dehen has at least one relative who was Jewish, i.e., Ms.
 10   Dehen is technically part Jewish.
 11         78.    Ms. Dehen volunteered as a Summer Camp Counselor at the
 12   Tucson Jewish Community Center ("TJCC") in 2004 and her family
 13   continued and continues to keep a relationship with the TJCC.
 14         79.    During Mr. President Donald J. Trump's State of the Union
 15   Address on January 30, 2018, he stated, "[w]e must be clear-terrorists are
 16   not merely criminals; they are unlawful enemy combatants." (Please see
 17   Mr. President Donald J. Trump's 2018 State of the Union Address).
 18         80.    President Donald J. Trump also stated, "[i]n the past, we have
 19   foolishly released hundreds and hundreds of dangerous terrorists, only to
 20   meet them again on the battlefield, including the ISIS leader al-Baghdadi,
 21   who we captured, who we had, who we released." (Id.)
 22                                Copyrighted Works
 23          81.   On June 20, 2013, Plaintiff created Photograph 1, titled,
 24   "Tiffany Pro," in Scottsdale, Arizona and published to Linkedin
 25   06/20/2013. See Exhibit 2.
 26          82.   "Tiffany Pro," is registered with the United States Copyright
 27   Office, which constitutes, "prima facie evidence of the validity of the
 28
                             21
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      copyright and of the facts stated in the certificate." See 17 U.S.C. §410(a).
  2   "Tiffany Pro," is assigned Registration Number: VA 2-069-923, with April
  3   01, 2017 as the Effective Date of Registration. Please see Exhibit 68.
  4         83.     On April 2, 2016, Plaintiff created Photograph 2, titled,
  5   "Tiffany DC," in front of Trump Tower in Washington D.C, and published
  6   to Twitter on 04/02/2016, and Facebook on 09/15/2016. See Exhibit 3.
  7         84.     "Tiffany DC," is registered with the United States Copyright
  8   Office, which constitutes, "prima facie evidence of the validity of the
  9   copyright and of the facts stated in the certificate." See 17 U.S.C. §410(a).
 10   "Tiffany DC," is assigned Registration Number: VA 2-073-279, with
 11   March 31, 2017 as the Effective Date of Registration. Please see Exhibit
 12   69.
 13         85.     On April 28, 2016, Plaintiff created Photograph 3, titled,
 14   "Tiffany MAGA," in front of the Trump rally in Orange County,
 15   California, and posted to Twitter on 04/28/2016. See Exhibit 4.
 16         86.     "Tiffany MAGA," is registered with the United States
 17   Copyright Office, which constitutes, "prima facie evidence of the validity
 18   of the copyright and of the facts stated in the certificate." See 17 U.S.C.
 19   §410(a). "Tiffany MAGA," is assigned Registration Number: VA 2-069-
 20   924, with April 01, 2017 as the Effective Date of Registration. Please see
 21   Exhibit 70.
 22          87.    On December 18, 2016, Plaintiff created Photograph 4, titled,
 23   "Tiffany Christmas MAGA," in Pacific Beach, California, and posted to
 24   Instagram, Facebook, and Twitter on 12/23/2016. See Exhibit 5.
 25          88.    "Tiffany Christmas MAGA," is registered with the United
 26   States Copyright Office, which constitutes, "prima facie evidence of the
 27   validity of the copyright and of the facts stated in the certificate." See 17
 28
                             22
      SECOND AMENDED COMPLAINT                       No.: 17'cv-00198-LAB-WVG
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      U.S.C. §4 IO(a).     "Tiffany Christmas MAGA," is assigned Registration
 2    Number: VA 2-069-747, with April 01, 2017 as the Effective Date of
 3    Registration. Please see Exhibit 71.
 4                   Twitter Account With Domain @tiffanydehen
  5         89.      On or about January 26, 2017, John Doe(s) created a Twitter
  6   account with the domain @tiffanydehen, with the description, "[p]arody
  7   account; Fiction and political satire about Republican white women", yet
  8   used Tiffany Dehen's legal name in the domain @tiffanydehen, and Ms.
  9   Dehen's copyrighted photos. See Exhibit 9.
 10         90.      The natures of the posts, described below, are so egregious as
 11   to deny Doe(s)'s protection under the First Amendment, further explained
 12   below.
 13         91.      Due to the ongoing terrorism investigation led by the Federal
 14   Bureau of Investigation, and on advice of the FBI, Tiffany Dehen was no
 15   longer using the domain @tiffanydehen in connection with her social
 16   media accounts.
 17            92.   On or about January 26, 2017, Doe(s), using the Twitter
 18   domain @tiffanydehen, followed various Twitter users including the
 19   following:
            "Helmut         Pe~e     Thick    @,HelmutThick,""Vladamir         Putin
 20            @,realtal~utin,'   "Donald J. lrum11._ @rea!DonaldTrump," "Ann
               Coulter AnnCoulter," "Paul Ryan @SpeakerRyan" "Bill O'Reilly


               ~
 21              oreilly actor," "Sean Hannity "(a)seanliannitX,'' "The White House
                 WhiteHouse," "Eric Trump @EricTrump,' "Kellyanne Conway
 22              KellyannePolls," "Donald Trump Jr. @DonaldJTrumpJr," "lvanka
                rump @IvankaTrump," "Mike Pence @mike_pence," "Dr. Ben
 23            Carson ralRealBenCarson,'' "Fox News @FoxNews,'' "Milo
               YiannopoUlous        @,DontGoAwayM4d,"              "Adolf     Hitler
 24            @,AdollliitlerFuhr," "Vladamir Putin @,realtalkputii;;" "Donald J.
               Trump @,rea!DonaldTrump," "Klu Klux'Klan @,Theel\.luKluxKlan,"
 25            "klu kTux klan @FuckTheNiggers," and' "Breitbart News
               @BreitbartNews."
 26
               See Exhibits 6-8, and 44-4 7.
 27
 28
                             23
      SECOND AMENDED COMPLAINT                       No.: 17-cv-00198-LAB-WVG
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            93.    On or about January 27, 2017, Doe(s), using the Twitter
  2   domain @tiffanydehen, tweeted, "@realDonaldTrump is gonna stop these
  3   alien abductions plaguing our nation y'all. These anal probes gotsa stop.
  4   #MakeAmericaGreatAgain #ufos". See Exhibit 43.
  5         94.    On or about January 27, 2017, Doe(s), using the Twitter
  6   domain @tiffanydehen, tweeted "I'm all for building that wall over mexico
  7   but    the    real    aliens   come     from     above     #buildthatwall
  8   #MakeAmericaGreatAgain @realDonaldTrump #ufos". See Exhibits 42-
  9   44.
 10         95.    On or about January 27, 2017, Doe(s), using the Twitter
 11   domain @tiffanydehen, tweeted, "The only better time to be a woman in
 12   America beside 2day was the day Jesus was crucified #witness #amen
 13   #Jesusfirst #MakeAmericaGreatAgain". See Exhibits 42-43.
 14         96.    On or about January 28, 2017, Doe(s), using the Twitter
 15   domain @tiffanydehen, tweeted, "Me+my girls today. If you can't bring
 16   back an 80's dye job, U DON'T DESERVE TO BE AMERICAN!!!
 17   #MakeAmericaGreatAgain #SexyLikeCockatoos #gr!". See Exhibit 41.
 18         97.    On or about January 28, 2017, Doe(s), using the Twitter
 19   domain @tiffanydehen, tweeted, "My gawd Who is that lucky lady?
 20   @POTUS @realDonaldTrump My pastor wouldn't be happy with my
 21   inside-outies right now? #MakeAmericaGreatAgain". See Exhibit 40.
 22         98.    On or about January 28, 2017, Doe(s), using the Twitter
 23   domain @tiffanydehen, tweeted, "TO HELL WITH MUSLIMS WHO
 24   WANT TO BAN OUR AMERICAN VALUES! U NEVER PUT ME IN A
 25   BURKA!         #MuslimBan       #MakeAmericaGreatAgain          @POTUS
 26   #BuildTheWall". See Exhibit 39.
 27
 28
                             24
      SECOND AMENDED COMPLAINT                    No.: 17-cv-00198-LAB-WVG
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             99.       On or about January 28, 2017, Doe(s), using the Twitter
  2   domain @tiffanydehen, tweeted, "Just found this lovely pie of our
  3   #firstladymelania       Pearl       necklaces     4    every    girl    about   time
  4   @MELANIATRUMP                   @POTUS          #MakeAmericaGreatAgain".         See
  5   Exhibits 37-38.
  6            JOO. On or about January 28, 2017, Doe(s), using the Twitter
  7   domain @tiffanydehen, tweeted, "Have y'all noticed the blacks are on all
  8   the magazines nowadays? Time 4 change!! White women are the silent
  9   majority in the lamestream media". See Exhibits 35-36.
 10            101. On or about January 28, 2017, Doe(s), using the Twitter
 11   domain @tiffanydehen, tweeted, "Nothing like my own personal welcome
 12   team      on      Twitter.      Thanks      @AdolfHitlerFuhr           XOXO     Let's
 13   #MakeAmericaGreatAgain studcakes #MuslimBan", and included a photo
 14   stating, "Fuhrer welcomes you" showing the Adolf Hitler Twitter account
 15   that Doe followed using the Twitter domain @tiffanydehen. See Exhibits
 16   35-36.
 17            102. On or about January 29, 2017, Doe(s), using the Twitter
 18   domain @tiffanydehen, tweeted, "Donated some eggs today! Don't know
 19   why       sept      they     told      me       they     were     tax     deductible!
 20   #MakeAmericaGreatAgain", with Infringing Work #I (see Exhibit 34),
 21   which comprises of Photograph #2 titled, "Tiffany DC," (see Exhibit 3)
 22   copyrighted by Plaintiff, (presumed to be taken directly from Ms. Dehen's
 23   personal Twitter account,) altered with the word, "MURIKKKA!", and two
 24   drawn in Swastikas. See Exhibits 32-33.
 25            103. On or about January 29, 2017, Doe(s), using the Twitter
 26   domain @tiffanydehen, tweeted, "Throwing this dog over this cliff!
 27    Animals don't deserve special rights! Down with special interists!
 28
                             25
      SECOND AMENDED COMPLAINT                               No.: 17-cv-00198-LAB-WVG
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      #MakeAmericaGreatAgain @POTUS'', with Infringing Work #2 (see
  2   Exhibit 31 ), which comprises of Photograph #4 titled, "Tiffany Christmas
  3   MAGA," (see Exhibit 5) copyrighted by Plaintiff, (presumed to be taken
  4   directly from Ms. Dehen's personal Twitter account,) and altered with the
  5   words, "DOWN WITH THEM SPESHUL INTRISTS!''. See Exhibit 29-
  6   30.
  7          104. On or about January 29, 2017, Doe(s), using the Twitter
  8   domain @tiffanydehen, tweeted, "Saving myself for marriage! My man
  9   knows we can have sex 3 times: honeymoon, Trumps reelection, & jesus 2•'
 10   coming! #MakeAmericaGreatAgain", with Infringing Work#3 (see Exhibit
 11   28), which comprises of Photograph 3 titled, "Tiffany MAGA," (see
 12   Exhibit 4) copyrighted by Plaintiff, (presumed to be taken directly from
 13   Ms. Dehen's personal Twitter account,) and altered with the top of Ms.
 14   Dehen's hat whited out with the words, "MAKE AMERICA GRATE
 15   AGAIN", written instead. See Exhibits 26-27.
 16          105. On or about January 29, 2017, Doe(s), using the Twitter
 17   domain @tiffanydehen, tweeted "Why do the gays hate this hate? I thought
 18   they    all    liked     fashion!     #snowflakes      #EndSpeciallnterests
 19   #ReligiousFreedom #MakeAmericaGreatAgain", with Infringing Work #4
 20   (see Exhibit 25), which, again, comprises of Photograph 3 titled, "Tiffany
 21   MAGA," (see Exhibit 4) copyrighted by Plaintiff, (presumed to be taken
 22   directly from Ms. Dehen's personal Twitter account,) and altered with the
 23   top of Ms. Dehen's hat whited out with the words, "BRING BACK (with a
 24   symbol that looks like a vagina)", written instead. See Exhibits 23-24.
 25          106. On or about January 29, 2017, Doe(s), using the Twitter
 26   domain @tiffanydehen, tweeted "That'll teach them terrorist saudis!
 27   #MuslimBan       #MakeAmericaGreatAgain          my     hero!     @POTUS
 28
                             26
      SECOND AMENDED COMPLAINT                     No.: 17-cv-00198-LAB-WVG
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       @realDonaldTrump", with a photo showing the countries of President
  2    Donald J. Trump's temporary ban on refugees. See Exhibits 21-22. ·
  3'           107. On or about January 29, 2017, Doe(s), using the Twitter
  4    domain @tiffanydehen, tweeted, "CNN is fake news! Serena won the
  5    Australian open!", with an article to CNN Breaking News @cnnbrk,
  6    "Roger Federer beats Rafael Nadal in a five-set match in the Australian
  7    Open Men's Final winning his 18'" grand slam''. See Exhibits 20-21.
  8            108. On or about January 29, 2017, Doe(s), using the Twitter
  9    domain @tiffanydehen, retweeted a post from Paul Ryan @SpeakerRyan,
 10    "RT if you agree It's time to rebuild our partnership with #Israel and
 11    reaffirm our commitment to her security'', but Doe added, "I agree with
 12    @SpeakerRyan do what you can to keep them Jews out of our Christian
 13    country!! #AmericaFirst #MakeAmericaGreatAgain #Muslim Ban''. See
 14    Exhibit 20.
 15            109. On or about January 29, 2017, Doe(s), using the Twitter
 16    domain @tiffanydehen, tweeted, "Fuck throwing this dog off a cliff. Ima
 17    eat him instead! What a #snowflake @peta #MakeAmericaGreatAgain
 18    Animals don't deserve extra rights!", with Infringing Work #5 (see Exhibit
 19    19), which, again, comprises of Photograph 4 titled, "Tiffany Christmas
 20    MAGA," (see Exhibit 5) copyrighted by Plaintiff, (presumed to be taken
 21    directly from Ms. Dehen's personal Twitter account), and altered with the
 22    words "DOWN WITH THEM SPESHUL INTRJSTS!''. See Exhibits 16-
 23    18.
· 24           110. On or about January 29, 2017, Doe(s), using the Twitter
 25    domain @tiffanydehen, tweeted, "I'm so excited for my audition for TV! I
 26    can't    wait   to   make   America    proud!   #MakeAmericaGreatAgain
 27    #AmericaFirst #AmericaFirstOnly @POTUS", with a photo of Tomi
 28
                              27
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      Lahren and the word "TIFF" added, and added text above the photograph
  2   that reads, "BRAVO'S The Real Housewives of Nazi-Occupied Russian
  3   Territory Formerly Known as America *twirls* "If he's not Aryan, we're.
  4   not marryin'!" See Exhibits 15-16.
  5         I 11. On or about January 30, 2017, Doe(s), using the Twitter
  6   domain @tiffanydehen, tweeted, "Here's my mom and her bible study
  7   sisters being saved from an evil Muslim palace. If I'm not her spitting
  8   image ... GO TRUMP GO! @POTUS", with a photo of President Donald J.
  9   Trump and three women. See Exhibit 14.
 10         112. On or about January 30, 2017, Doe(s), u~ing the Twitter
 11   domain @tiffanydehen, tweeted, "All ready for my job interview. Too
 12   much??? #AmericaFirst #AmericaFirstOnly Help me fashion queens!!!
 13   @MELANIATRUMP @KellannePolls'', with Infringing Work #6 (see
 14   Exhibit 13), which comprises of Photograph I titled, "Tiffany Pro," (see
 15   Exhibit 2) copyrighted by Plaintiff, (presumed to be taken directly from
 16   Ms. Dehen's Linked!n account this time), altered with a black headband
 17   containing a Swastika drawn in, as well as a red Swastika added to Ms.
 18   Dehen's chest. See Exhibits 11-12.
 19         113. On or about January 30, 2017, Doe(s), using the Twitter
 20   domain @tiffanydehen, retweeted one of Ms. Dehen's personal tweets
 21   where she posted an article from Drudge Report, and wrote, "That's right
 22   @tiffanysundevil we should just get rid of all those countries that aren't
 23   america! #AmericaFirst #AmericaFirstOnly." See Exhibits 10-11.
 24         114. On or about January 30, 2017, Doe(s), using the Twitter
 25   domain@tiffanydehen, tweeted, "We don't need a justice department! fuck
 26   impartiality! #MakeAmericaGreatAgain", with a retweet from Drudge
 27
 28
                             28
      SECOND AMENDED COMPLAINT                    No.: 17-cv-00198-LAB-WVG
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      Report @DRUDGE_REPORT that says, "TRUMP FIRES ACTING
 2    ATTORNEY GENERAL", with a link to an article. See Exhibit 10.
  3         115. On or about January 30, 2017, Doe(s), using the Twitter
 4    domain @tiffanydehen, tweeted, "ONLY WHITE PEOPLE DESRVE
  5   BENEFITS! america should be great to win I no knowledge of it!
  6   #MakeAmericaGreatAgain @POTUS @realDonaldTruinp", with a retweet
  7   from a post by Thomas Paine @Thomas! 774Paine that said, "Hey DOJ &
  8   #Yates, welcome back to the real America where you get fired for screwing
  9   up like the rest of us. #Obama's Country Club is closed". See Exhibits 9-
 10   10.
 11         116. On January 30, 2017 around 9:50 p.m., Plaintiff became aware
 12   of the account due to the retweet of Plaintiff's tweet referenced above, and
 13   the fact that Doe "liked" 10 of Ms. Dehen's Tweets. See Exhibits 10-11,
 14   and 54.
 15         117. Upon inspection of the Twitter account, Plaintiff sought
 16   immediate removal of the impersonating account by utilizing Twitter's
 17   Impersonation Policy through completion of the provided form to "report
 18   an account for impersonation."
 19         118. Plaintiff submitted the report for impersonation for Doe(s)'s
 20   defaming Twitter account in the username @tiffanydehen to Twitter on
 21   01/30/2017, thus fulfilling all conditions, covenants, and promises required
 22   on her part to be performed in accordance with the terms and conditions of
 23   the user agreement. See Exhibit 48.
 24          119. On January 30, 2017 at 9:56 p.m., Twitter responded to
 25   Plaintiff's request to Case# 50854043 with the following:
             Hello,
 26          Thanks for sending your report regarding impersonation on Twitter.
             Our next steps: First, we need to confirm your identity. Below
 27          you'll find instructions and a link you can use to upload a copy of
             your valid government-issued photo ID. Then we'll review and
 28
                             29
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            process your report. We can't review your report until the
            aocumentation is received.
            Your next steps: Review the instructions below and upload the
  2         requested documentation. Please make sure to upload a legible copy
            so we can review the full name and photo on the ID. Tfos
  3         information will be kept confidential and your documentation will be
            deleted.
  4         Instructions: Click on the link below and u,1'.load a copy of your valid
            government is~ued photo ID (e.g._, driver ~ license or passport). If
  5         you are reporting an account that is not using the name that appears
            on your government-issued photo ID, you must also include
  6         documentation demonstrating that the name used by the account
            yo\t're reporting is associated with you (e.g., proof of registration of
  7         your trade name or pseudonym).
            u~~                                                                I~:
  8         https://twitterinc.secure.force.com/u?e=tiffany.dehen@gmail.com&c
            n=50854043                                               .
  9         Please note that accounts in compliance with Twitter's parody,
            commentary,              and          fan       . accounts   policy
 10         (~ttps;!isupport.twitter.com/entries/106373) are nsit considered. in
            v10lat10n            of        our          impersonation    pohcy
 11         (https ://support. twitter.com/articles/18366).
            Thank you,
 12         Twitter
 13         See Exhibit 48.
 14         120. On February 1, 2017 Ms. Dehen was involved in an
 15   automobile collision on the I-5 freeway southbound on her way to Federal
 16   Court to commence suit that she luckily walked away from with only neck
 17   and back pains felt at the time. See Exhibits 57-58.
 18         121. Fearing for her personal safety and under severe emotional
 19   distress, Ms. Dehen first submitted the initial complaint with the Court in
 20   order to get the alleged conduct on federal record.
 21         122. Thereafter Ms. Dehen went to the emergency room, where she
 22   submitted the requested proof of identity via photo of her state issued
 23   driver's license to Twitter, in completion of the additional action Twitter
 24   requested in order to enforce its stated policies. See Exhibit 49.
 25         123. On February 1, 2017 around 4:30 p.m., Doe, using the Twitter
 26   domain @tiffanydehen, tweeted, "Black history month? More like "excuse
 27   to complain more" month." See Exhibit 50.
 28
                             30
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               124. On February 2, 2017 at 8:51 a.m., Twitter replied to the
  2   second report Ms. Dehen submitted for Impersonation (Case # 50854043),
  3   with the following:          .
             Thanks for bringing this to our attention. Parody, newsfeed,
  4          commentary and fan accounts are permitted on Twitter so long as
             they comf.ly with our P.Olicy for such accounts. In response to your
  5          complain , we're providing the user with instructions on how to
             comply with our policy. Please allow 48 hours from the receipt of
  6          this email if you'd like to file a follow-up complaint about the
             account. Note that Twitter will not proactively monitor the account,
  7          but will respond to all valid follow-up complaints.
  8         See Exhibit 51.
  9            125. After receiving Plaintiffs second Impersonation Request, it
 10   took Twitter more than 12 additional hours to suspend the tweets on the
 11   account, which also could have been due in part or in whole to the fact that
 12   Plaintiff had already commenced this action, as Plaintiff found her initial
 13   complaint posted on Twitter the day prior, February 2, 2017. See Exhibits
 14   72-73.
 15            126. Ms. Dehen checked Twitter around 5 a.m. on February 3,
 16   2017, and the offending account was still active.
 17            127. When Ms. Dehen checked the account again around 10 a.m.
 18   on February 3, 2017, the account was disabled with the main profile photo
 19   still visible and the account still accessible through a search on Twitter.
 20            128. The main account page stayed active for days following the
 21   disabling of the tweets. Days later, Plaintiff noticed the account was taken
 22   down altogether.
 23            129. Twitter is in a better position than Ms. Dehen to present to the
 24   Court the exact timeframe of. the creation and disabling of the defaming
 25   Twitter account through discovery because that information is now
 26   unavailable to Plaintiff.
 27
 28
                             31
      SECOND AMENDED COMPLAINT                        No.: 17-cv-00198-LAB-WVG
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             130. Plaintiff can and will show monetary damages as well as
  2   reputational and emotional damages, in addition to the statutory and
  3   punitive damages she is entitled under the law. For example, Plaintiff was
  4   so intimidated, frightened and ashamed in the immediate days after finding
  5   the offending Twitter account that she missed an attorney networking event
  6   which she was supposed to be a volunteer witness for the week of 1/31/17.
  7   Please see Exhibit 94.
  8          Ms. Dehen tweeted and continues to tweet to President Donald J.
  9   Trump all the time. Ms. Dehen literally only started using Twitter again
 10   because of Mr. President Donald J. Trump (then Presidential Candidate).
 11   The fact that John Doe tweeted damaging tweets to Mr. Donald J. Trump is
 12   significantly more damaging than the heinous nature of the illegal account
 13   to begin with because Plaintiff has been working towards working with Mr.
 14   President Donald J. Trump since he announced his presidential campaign in
 15   2015. The amount of damages Plaintiff is entitled is not to be taken lightly,
 16   especially considering the fact Mr. President Donald J. Trump is a
 17   billionaire.
 18
 19                  RELEVANT FACTS AFTER COMMENCING SUIT
 20          131. On February I, 2017, Plaintiff Ms. Dehenrushed to file suit
 21   out of fear for her safety and well-being due to the aforementioned
 22   terroristic behavior, including threats to her personal safety and the safety
 23   of Ms. Dehen's dog, Mitty, in order to ensure there was in fact a federal
 24   record started somewhere, as Ms. Dehen previously thought the FBI was
 25   taking care of it but became worried the FBI did not have the threat under
 26   control as Ms. Dehen was still being subjected to escalating illegal
 27   threatening conduct continuing to harm her.
 28
                             32
      SECOND AMENDED COMPLAINT                       No.: l 7-cv-00198-LAB-WVG
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              132. On February 2, 2017, Ms. Dehen's initial complaint she filed
 2    under duress went public to her surprise. Ms. Dehen became apprised of
 3    the fact that her complaint went public when she received harassing
 4    messages and tweets on Twitter in response to her lawsuit. Plaintiff
 5    requests the record to reflect that the Twitter account in question with
 6    domain @TiffanyDehen was still public at this_ time that her initial
 7    complaint was public, and was only taken down by Twitter after a copy of
  8   Ms. Dehen's initial complaint was all over Twitter.
  9           133. On February 2, 2017, out of continued fear for her personal
 10   safety, Ms. Dehen went straight to Federal Court to attempt to be seen by
 11   the Judge. Unsuccessful, Ms. Dehen left a rushed note for the Judge under
 12   duress. Ms. Dehen then went straight to the Federal Bureau of
 13   Investigation and refused to leave the premises until an agent came down to
 14   notate the new information pertaining to a case which Ms. Dehen thought
 15   was ongoing with the FBI regarding the aforementioned terroristic threats
 16   to Ms. Dehen personally and to the United States. The FBI made clear to
 17   Ms. Dehen that in spite of the new intel revealing continued threats and
 18   harassment, the bureau was still under no duty whatsoever to disclose any
 19   updates regarding the ongoing investigation, or Ms. Dehen 's safety, to Ms.
 20   Dehen, unless her name was picked up as "terrorism chatter" by "known
 21   terrorists''.
 22           134. After the February 2, 2017 meeting with the FBI, Ms. Dehen
 23   noticed Mohammed's Instagram account (the student who self-proclaimed
 24   himself to be an enemy combatant of the United States, i.e., in an ISIS
 25   Sleeper Cell) was finally taken down.
 26           135. On February 3, 2017, the day after Ms. Dehen's initial
 27   complaint went public, Mr. Mike Masnick with Tech Dirt published a
 28
                             33
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      biased negative news article on Ms. Dehen without the correct facts and
  2   without any attempt whatsoever by Mr. Masnick to contact Ms. Dehen for
  3   facts. Please see
  4   https://www.techdirt.com/articles/20170202/16511636619/recent-law-
  5   school-grad-sues-twitter-because-someone-made-parody-twitter-
  6   account.shtml.
  7          136. On February 6, 2017, four days after Ms. Dehen's initial
  8   complaint went public, Mr. Dorian Hargrove with the San Diego Reader
  9   published an article on Ms . .Dehen's initial filing without any attempt to
 10   reach out to Ms. Dehen for comment. Please see
 11   https://www.sandiegoreader.com/news/2017/feb/06/ticker-fake-twitter-
 12   account-prompts-lawsuit/#.
 13          137. On February 9, 2017, seven days after Ms. Dehen's initial
 14   complaint went public, Ms. Kristina Davis with the San Diego Union
 15   Tribune published an article on Ms. Dehen's initial filing without any
 16   attempt to reach out to Ms,· Dehen for comment. Please see
 17   http://www.sandiegouniontribune.com/news/courts/sd-me-twitter-lawsuit-
 l8   20170209-story.html.
 19          138. On February 17, 2017, Ms. Dehen's friend helped her create a
 20   website using the domain www.TiffanyDehen.com, where she made clear
 21   she was not backing down with her lawsuit.
 22          139. On February 17, 2017, Ms. Dehen received a letter from
 23   "Adolf hitter" with the email address Mod@aol.com and phone number of
 24   8585676545 at 8:07:24 PM that said, "Heil hitter u racist dumb broad".
 25   Please see Exhibit 74.
 26          140. On February 18, 2017 at 9:38 a.m., www.TiffanyDehen.com
 27   had 4444 views. Please see Exhibit 75.
 28
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  1         141. On February 18, 2017 at 10:53:21 a.m., a John Doe claiming
  2   the name "Anon" with the email address anon@anon.co sent Ms. Dehen a
  3   message through her website contact that stated the following:
  4                 You are seriously an idiot. It's called the 1st amendment.
      Maybe your law school allows idiots in, maybe it's just you. The account
  5   said parody. Good luck finding an attorney willing to pursue such a
  6   frivolous claim. Makes sense that you supported Trump; which is much
      different than just voting for the idiot. Your shit-stained eyes can't tell
  7   parody from defamation with a disclaimer! Maybe get your head out of
  8   your ass? -An IP Attorney

  9         Please see Exhibit 76.
 10         142. On February 20, 2017, 18 days after Plaintiff Ms. Dehen's
 11   initial complaint went public, Ms. Dehen was involved in a serious
 12   automobile collision in Pacific Beach that totaled her car and left her with
 13   serious back and neck injuries, for which she sought medical treatment for
 14   almost a year, and continues to seek alternative pain management
 15   treatments. Please see Exhibits 59, 77 - 82. The San Diego Police
 16   Department refused to record an incident report regarding the accident,
 17   even after requested by Ms. Dehen. Please see Exhibits 81 & 82.
 18          143. On February 21, 2017, Ms. Dehen, in excruciating back and
 19   neck pain, went to the San Diego Police Department to again, request for
 20   them to file a police report regarding the serious collision the day prior.
 21   San Diego Police Department refused. Ms. Dehen called the FBI outside
 22   of the Police Department and relayed all of the information regarding the
 23   automobile collision to the Bureau, out of fear and suspicion that the
 24   accident was intentional and related to either the underlying threatening
 25   terroristic behavior or the freshly filed federal complaint Ms. Dehen filed
 26   19 days prior, or both. Plaintiff Ms. Dehen respectfully requests the Court
 27
 28
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      to compel from the FBI a copy of the recording of her phone call to the
  2   Bureau on February 21, 2017 to enter into evidence.
  3         144. On February 22, 2017, a professor from USO reached out to
  4   Ms. Dehen via the contact form on her website.
  5         145. On February 24, 2017 at 10:35:38 a.m., a Mr. John Roberts,
  6   C.J. with the claimed email address of Roberts@supremecourt.gov and
  7   phone number of202-228-7343 sent a message to Ms. Dehen through her
  8   website contact form that said the following:
  9                 You do realize that you will never get a legal job after filing
      that complaint? The complaint demonstrates that you learned nothing in
 10   law school. Nothing. It also demonstrates that you are many sandwiches
 11   short of a picnic basket. Seek therapy.
             Please see Exhibit 83.
 12
             146. On February 24, 2017 at 11 :37:35 a.m. a Mr. Ben Hayes with
 13
      the email address bthayes I 25@gmail.com and phone number 434-284-
 14
      3221 sent a message to Ms. Dehen through her website contact form that
 15
      said the following:
 16                 Hello Ms. Dehen, Your lawsuit came to my attention through
 17   the blog, Above the Law. In reading it, one thing in particular caught my
      eye. I was just curious if you are now aware that Adolf Hitler was not a
 18   "socialist communist" dictator. He was the leader of the Nazi party, which
 19   was National Socialist Democratic German Workers Party. There are pretty
      significant differences in the two, and I would be happy to send resources
 20   to aid in your understanding, but I am first genuinely curious to see if you
 21   know this or not. Best, Ben.

 22          Please see Exhibit 84.
 23          147. On February 28, 2017, William Vogeler, Esq. with Find Law
 24   published a biased negative news article on Plaintiff Ms. Dehen without the
 25   correct facts and without any attempt whatsoever by Mr. Vogeler to reach
 26   out to Ms. Dehen for facts. Please see
 27
 28
                             36
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      http://blogs.findlaw.com/greedy associates/201 7/02/jd-sues-twitter-and-
  2   her-alma-mater.html?utm source=dlvr.it&utm medium=twitter.
  3         148. On March 25, 2017, a second professor from USO reached out
  4   to Ms. Dehen via the contact form on her website.
  5         149. While Ms. Dehen would like to believe that the two
  6   aforementioned professors who reached out to Ms. Dehen did so out of
  7   fondness for Ms. Dehen as their student, in light of the surrounding
  8   circumstances Ms. Dehen chose to be cautious. Ms. Dehen has not
  9   communicated with either of the two professors who reached out to her
 I0   about any of the events at school leading up to this cause of action. After
 11   they reached out to Ms. Dehen, she decided not to talk to them directly
 12   regarding the case or any claims against USO in order not to taint the
 13   evidence since both professors would have testimony that Ms. Dehen
 14   alleges shed light on the illegal conduct complained of herein.
 15         150. Ms. Dehen asked the FBI to reach out to the first professor
 16   during her home interview with the FBI because Ms. Dehen was briefly
 17   enrolled in a class taught by this professor in which the student who
 18   declared himself to be an enemy combatant of the United States was also a
 19   student (before he made the alarming statements to Ms. Dehen). In this
 20   class, as Ms. Dehen relayed to the FBI, she specifically remembers this
 21   student going off on an Islam rant, though did not have any reason at the
 22   time to be alarmed by the statements made in class.
 23          151. As for the second professor who reached out to Ms. Dehen,
 24   Ms. Dehen alleges that immediately following the university sponsored
 25   event during which the student proclaimed himself to be an enemy
 26   combatant of the United States, Ms. Dehen walked into class late with one
 27   other student from the Dean's Mixer and was yelled at by this particular
 28
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      professor. This was a memorable evening for Ms. Dehen since she had just
  2   been told by a fellow law student that he was "in an ISIS sleeper cell"
  3   "until he's activated" and then was yelled at by one of her favorite
  4   professors for being late which was out of the ordinary because Ms. Dehen
  5   was never late to this class. Ms. Dehen did not take hardly any notes
  6   during this class period completely out of character for Ms. Dehen and
  7   appeared visibly distraught throughout the entire class period. This
  8   particular professor approached Ms. Dehen the following class to
  9   apologize, conceding the fact that he had been harsh on her especially since
 10   her conduct was out of the norm for Ms. Dehen.
 11          152. On May 9, 2017 at 6:04:59 p.m., a John Doe claiming the
 12   name "Sad!" with an email address of johnsmith@yahoo.com wrote the
 13   following to Plaintiff Ms. Dehen through her website contact form:
 14                Fuck off. You're a sad excuse for a person if you support that
      asswipe of a President, and a terrible excuse for a wanna-be lawyer. You
 15   think you stand for the constitution and 'Merican values? What a laugh- I
 16   would be my LIFE on the fact that you couldn't beat me in court regarding
      any aspect of our Constitution. Enjoy these words, from someone who's
 17   actually a member of the bar in their state. Idiot.
 18
            Please see Exhibit 85.
 19
             153. On June 22, 2017, Mr. Vogeler published a second biased
 20
      negative news article on Ms. Dehen. Please see
 21
      http://blogs.findlaw.com/greedy associates/2017 /06/law-grad-sues-her-
 22
      law-school-and-twitter.html#more.
 23
             154. On June 23, 2017, Plaintiff Ms. Dehen submitted documents
 24
      related to this case with the Southern District of California, where she met
 25
      an elderly woman in a wheelchair whom she helped wheel downstairs and
 26
      ate lunch with. Please see Exhibit 88. Ms. Dehen became uncomfortable
 27
      when it appeared as though this woman was interested in learning details
 28
                             38
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      about Ms. Dehen's case not yet disclosed and tried pushing Ms. Dehen to
 2    work on her case at her "office" in downtown San Diego. After Ms. Dehen
 3    left the presence of this woman, the woman contacted Ms. Dehen about ten
 4    or more times the next two days, to the point where Ms. Dehen had to
  5   block this woman from further contact via blocking her phone number.
  6   Please see Exhibits 89 - 92. Plaintiff alleges the fact relevant that this
  7   woman's daughter works for Jones Day. Please see Exhibit 93. Plaintiff
  8   alleges collusion between Perkins Coie LLP and this woman in an attempt
  9   to extort and intimidate Ms. Dehen because Ms. Dehen alleges this woman
 10   was sent as an agent of Perkins Coie to harass and intimidate Ms. Dehen
 11   from pursuing her claims in court.
 12          155. On or around December 11, 2017, Plaintiff Ms. Dehen was
 13   contacted by a reporter with Bloomberg News, who asked Ms. Dehen to
 14   send her a copy of her second amended complaint before she filed it with
 15   the Court. Please see Exhibit 86.
 16          On August 17, 2018, a Twitter user by the handle ®That AC "That
 17   Anonymous Coward - As seen on several dockets." who has been
 18   incessantly harassing Ms. Dehen since June 22, 2017 (please see Exhibit
 19   xxx), tweeted, "'MERIKA!" Please see Exhibit xxx.
 20   _ _ 156. Plaintiff respectfully requests the record reflect she reserves
 21   the right to raise any and all issues related to collusion, intimidation,
 22   extortion, and other claims against all named and unnamed defendants
 23   should discovery reveal direct evidence of such.
 24                     COMMUNICATIONS DECENCY ACT§ 230
 25          Section 230 of the Communications Decency Act ("CDA"l begins
 26   with a statement of findings and a statement of policy, in subsections
 27   230(al and (b), respectively. See 47 U.S.C. § 230.
 28
                             39
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            The findings are rather general, but they illustrate Congress'
  2   appreciation for the Internet as a "forum for a true diversity of political
  3   discourse, unique opportunities for cultural development, and myriad
  4   adventures for intellectual activity," which "ha[s] flourished, to the benefit
  5   of all Americans, with a minimum of government regulation." See 4 7
  6   U.S.C. § 230(a)(3)-(4).
  7          Congress forther expressed. "fflncreasingly Americans are relying on
  8   interactive media for a variety of political, educational, cultural, and
  9   entertainment services." See 47 ll.S.C. § 230(a)(5).
 10
                   CDA § 230 provides, in relevant part, as follows:
 11
 12          (c) Protection for "Good Samaritan" blocking and screening of
             offensive material.
 13          (1) Treatment of publisher or speaker. No provider or user of an
 14          interactive computer service shall be treated as the publisher or
             speaker of any information provided by another information content
 15          provider.
 16          (2) Civil liability. No provider or user of an interactive computer
             service shall be held liable on account of--
 17          IA) any action voluntarily taken in good faith to restrict access to or
 18          availability of material that the provider or user considers to be
             obscene, lewd, lascivious, filthy, excessively violent, harassing, or
 19          otherwise objectionable, whether or not such material is
 20          constitutionally protected; or
             (B) any action taken to enable or make available to information
 21          content providers or others the technical means to restrict access to
 22          material described in paragraph ( 1l [subparagraph (A)].

 23          See 47 U.S.C. § 230(c).
 24
             Section 230 further provides the following in relevant pa1t:
 25
 26                 Nothing in this section shall be construed to prevent any State
                    from enforcing any State law that is consistent with this
 27                 section. No cause of action may be brought and no liability
 28
                             40
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                  may be imposed under any State or local law that is
                  inconsistent with this section.
 2
                  Id. At§ 230(e)(3).
  3
  4         Section 230 t\Jrther states in relevant part as follows:
  5
            (!)Internet. The term "Internet" means the international computer
  6         network of both Federal and non-Federal interoperable packet
  7         switched data networks.
            (2) Interactive Computer Service. The term "interactive computer
  8                1
            service ineans any infonnation service. system. or access software
                       '



  9         provider that provides or enables computer access by multiple users
            to a computer server, including specifically a service or system that
 10         provides access to the Internet and such systems operated or services
 11         offered by libraries or educational institutions.
            (3) Information Content Provider. The term "information content
 12         provider" means any person or entity that is responsible, in whole or
 13         in part, for the creation or development of information provided
            through the Internet or any other interactive computer service.
 14         (4) Access software provider. The term "access software provider"
 15         means a provider of software (including client or server software), or
            enabling tools that do any one or more of the following:
 16         (Al filter, screen, allow, or disallow content:
 17         (Bl pick, choose, analyze, or digest content; or
            (Cl transmit, receive, display, forward, cache, search, subset,
 18         organize, reorganize, or translate content.
 19
            See 47 U.S.C. § 230(0.
 20                                                                                     -- Formatted: Font: Bold, Font color: Auto
                                                                                     ·--~·::::· >--~--'======--<
                                                                                          Formatted: Body Text, Don't add space
 21                                                                                       between paragraphs of the same style, Line
                           CDA § 230 IS UNCONSTITUTIONAL                                  spacing: Exactly 24 pt
 22
            157. Perkins Coie LLP, on behalf of Twitter, asserted CDA § 230
 23
      bars jurisdiction of United States Federal District Court over this case,
 24
      please see Perkins Coie LLP's Answer to Plaintiff's First Amended
 25
      Complaint on behalf of Twitter Inc. The fact that Perkins Coie LLP already
 26
      tried to assert CDA § 230 as a bar to Plaintiff's claims against Twitter
 27
      merely provides further evidence in favor of Plaintiff's argument that CDA
 28
                             41
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      § 230 is unconstitutional and needs to be stricken down by this Court
  2   immediately.
  3         158. CDA § 230 does not bar claims arising from breach of
  4   contract, please see Baldino s Lock & Key Service, Inc. v. Google LLC,
  5   2018 WL 400755 at *l (D.D.C., 2018), nor does CDA § 230 bar claims
  6   arising from promissory estoppel, please see Barnes v. Yahoo!, 570 F.3d
  7   1096 (9th Cir. 2009). Contrary to Perkins Coie LLP's absurd assertion,
  8   Plaintiff's claims against Defendant Twitter are not barred by CDA § 230
  9   as Plaintiff alleges claims against Defendant Twitter for actions taken by
 10   Twitter, not that of a third party, which consist of fraud in the form of
 11   fraudulent misrepresentation to Plaintiff personally on more than one
 12   occasion, indicating a pattern of racketeering in violation of 18 U.S.C. §
 13   1962, further explained below. Twitter then attempted to intimidate and
 14   extort Ms. Dehen into dropping her legal claims against Twitter, again, not
 15   considered activity of a third party for which CDA § 230 is used to bar.
 16                         CDA § 230 Exceeds Legislative Power
 17          159. Plaintiff respectfully requests that the record reflect she
 18   reserves the right to argue the CDA § 230 exceeds legislative power should
 19   this Court not strike down CDA § 230 as unconstitutional for violating the
 20   First Amendment.
 21                       CDA § 230 Violates The First Amendment
 22          160. Plaintiff hereby incorporates by reference all stated paragraphs
 23   as though fully set forth herein.
 24          161. As the plaintiffs in American Freedom Defense Initiative, et
 25   al., v. Loretta Lynch 2016 WL 3881116 (D.D.C.) argue, Plaintiff argues
 26   CDA § 230 is in violation of the First Amendment of the United States
 27   Constitution. Should this case uphold the constitutionality of CDA § 230,
 28
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  1   Plaintiff reserves the right to bring claims against Twitter and Perkins Coie,
 2    LLP for First Amendment violations against Plaintiff.
 3          162. Section 230 of the CDA, facially and as applied, is a content
 4    and viewpoint based restriction on speech in violation of the First
  5   Amendment.
 6          163. Section 230 of the CDA, facially and as applied, is vague and
  7   overbroad and lacks any objective criteria for suppressing speech in
  8   violation of the First Amendment. In 0 'Kroley v. Fastcase, Inc., 831 F.3d
  9   352, 355 (6th Cir. 2016), the Sixth Circuit reasoned that '1he CDA
 10   immunizes a search engine's 'automated editorial acts.'" Baldino s Lock &
 11   Key Service, Inc. v. Google LLC, 2018 WL 400755 at *5 (D.D.C., 2018)
 12   citing 0 'Kroley v. Fastcase, Inc., 831 F.3d 352, 355 (6th Cir. 2016).
 13   Plaintiff argues 'automated editorial acts' could and does include editorial
 14   acts which are discriminatory against a certain viewpoint based on the
 15   content in violation of the First Amendment, such as censorship alleged
 16   against Twitter, YouTube, Facebook, Google, whether it be intentional or
 17   through their algorithms.
 18          164. The Sixth Circuit continued, "[w]hen a search engine re-
 19   publishes information originally created by a third party, CDA immunity
 20   applies even when confusion may result." Baldino sLock & Key Service,
 21   Inc. v. Google LLC, 2018 WL 400755 at *5 (D.D.C., 2018) citing O'Kroley
 22   v. Fastcase, Inc., 831 F.3d 352, 355 (6th Cir. 2016). In "common sense
 23   terms", no companies should be given free reign over censoring American
 24   citizens' freedom of speech in exchange for no risk of liability, extending
 25   all the way to barring any potential causes of action. No policy interest
 26   here outweighs the importance of free speech. Plaintiff alleges her freedom
 27   of speech has been censored and suppressed via intimidation through
 28
                             43
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      express terroristic threats made against herself and her dog which was then
  2   exacerbated by Twitter's fraudulent misrepresentations and failure to
  3   uphold its contractual obligations.
  4         165. Section 230 of the CDA, facially and as applied, permits
  5   Twitter and similar companies such as Facebook, YouTube and Google to
  6   engage in government-sanctioned discrimination and censorship of free
  7   speech in violation of the First Amendment, such as alleged in American
  8   Freedom Defense Initiative, et al., v. Loretta Lynch 2016 WL 3881116
  9   (D.D.C.). These same companies are alleged to make similar fraudulent
 I0   misrepresentations as Twitter without enforcing their expressly stated
 11   promises, such as alleged against YouTube for example in Prager
 12   University v. Google LLC, No. 17-CV-06064-LHK, 2018 WL 1471939,
 13   (N.D. Cal. Mar. 26, 2018).
 14         166. Section 230 of the CDA, facially and as applied, permits
 15   Twitter and similar companies such as Face book, YouTube and Google to
 16   engage in government-sanctioned discrimination that would otherwise
 17   violate California Civil Code § 51. Please see American Freedom Defense
 18   Initiative, et al., v. Loretta Lynch 2016 WL 3881116 (D.D.C.).
 19          167. Section 230 of the CDA, facially and as applied, permits
 20   Twitter and similar companies such as Facebook, YouTube and Google to
 21   engage in government-sanctioned censorship of speech that would
 22   otherwise violate Article I, section 2 of the California Constitution. Id.
 23          168. Section 230 ofthe CDA, facially and as applied, confers broad
 24   powers of censorship upon Twitter and similar companies like Facebook,
 25   YouTube and Google officials, who can censor constitutionally protected
 26   speech and engage in discriminatory business practices with impunity by
 27
 28
                                            44
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      virtue of this power conferred by the federal government in violation of the
  2   First Amendment. Id.
  3          169. Section 230 of the CDA, facially and as applied, grants Twitter
  4   and similar companies like Facebook, YouTube and Google and their
  5   officers, agents, and employees unbridled discretion to censor speech such
  6   that their decisions to limit speech are not constrained by objective criteria,
  7   but may rest on ambiguous and subjective reasons in violation of the First
  8   Amendment Id.
  9          170. Plaintiff argues iflarge online companies such as Twitter,
 10   Facebook, and Google don't have the manpower to appropriately respond
 11   to illegal conduct harming American citizens as they explicitly promise to
 12   do, these international companies should ncit be able to use their large size
 13   as an excuse or shield protecting them from civil liability. Plaintiff does
 14   not take issue with the size of the company, rather Plaintiff takes issue with
 15   these companies citing impossibility as a valid concern contributing to their
 16   unfair unilateral unconstitutional protection afforded by the CDA.
 17          171. The United States Constitution does not guarantee freedom of
 18   speech to citizens of the world, or any of the powers vested therein. The
 19   United States Constitution grants freedom of speech to citizens of the
 20   United States. Please see U.S. Const. Am. 1. As just a few examples,
 21   Facebook claiming protection ofCDA § 230 used the safe harbor to bar
 22   allegations that Facebook allowed Palestinian terrorist organization and its
 23   members to operate accounts to further their aims. Please see Cohen v.
 24   Facebook, Inc., 252 F. Supp. 3d 140, 146 (E.D.N.Y. 2017). Google
 25   successfully asserted immunity under CDA § 230 against claims brought
 26   by family members of deceased victim of terrorist attack under Anti-
 27   Terrorism Act alleging Google provided material support to ISIS. Please
 28
                             45
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      see Gonzalez v. Google, Inc., 282 F. Supp. 3d 1150 (N.D. Cal. 2017).
  2   American citizens' freedom of speech are being suppressed for their
  3   content and viewpoint by these same companies under CDA § 230. Please
  4   see Green v. YouTube Inc. et al., No. 18-CV-203-PB (D.N.H. 2018).
  5         172. The unconstitutional CDA is wasting precious judicial
  6   resources. There are countless cases pending before various federal and
  7   state courts, in addition to numerous published cases alleging wrongdoing
  8   of companies which fall under the broad scope of the CDA, a fraction of
  9   which are cited in this complaint. On West!aw there are 7,000 cases that
 10   cite to CDA § 230. Please see Exhibit 87.
 11         Please see below a few examples of how the big tech companies
 12   claiming protection of the CDA § 230 are censoring American citizens in
 13   direct violation of the First Amendment through government action being
 14   the enactment of the CDA § 230 (list compiled by Mr. Green and located at
 15   www.antischool.us/single-post/2018/08/ l 7/Censorship-ot~Conservative-
 16   Voices-and-the-Social-Media-Monopoly):
 17         On June 28, 2016, Breitbart reported Death Threats Made Towards
 18   Republican Senators Remain On Twitter For Weeks Without Deletion.
 19   Please see https://www.breitbart.com/tech/2016/06/28/death-threats-made-
 20   to-republican-senators-remain-for-weeks/.
 21         On July 19, 2016, Breitbart Tech editor Milo Yiannopoulos was
 22   permanently suspended from Twitter minutes before 'Gays For Trump'
 23   party at the Republican National Convention. Please see
 24   https://www.breitbart.com/milo/2016/07 / l 9/breaking-m ilo-suspended-
 25   twitter-20-minutes-party/.
 26         On October 29, 2017, DailyMail.com reported Trump ally Roger
 27   Stone banned fi'om Twitter FOR LIFE atler attackinv CNN anchors Don
 28
                             46
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      Lenzon and Jake Tapper over the Russia probe. Please see
  2   http://www.dailvmail.co. uk/news/article-5028221 /Trump-ally-Roger-
  3   Stone-banned-Twitter-LIFE. html.
  4         On November 3. 2017. Mr. President Donald J. Trump's Twitter
  5   account was taken down by an employee on their last day. Please see
  6   https ://www.express.co. uk/news/worl d/87 4903/Donal d-Trump-Twi tter-
  7   down-human-error-social-media-President-webiste.
  8         On January 11, 2018. Project Veritas exposed Twitter "shadow-
  9   banning" pro-Trump content in an undercover video investigation where
 10   eight current and former Twitter employees are on camera explaining steps
 11   the social media giant is taking to censor political content that they don't
 12   like. Please see https://www.youtube.com/watch?v=64gTjdUrDFQ.
 13         On April 5, 2018, The Gatewav Pundit reported Conservative
 14   Comedian Owen Benjamin Banned From Twitter & YouTube: "mv abilitv
 15   to 1nake an inco1ne has heen revoked. " Please see
 16   https ://www.thegatewaypundit.com/2018/04/conservati ve-comedian-owen-
 17   benj am in-banned-from-twi tter-youtube- nw-abi Iity-to- make~an-i ncome-
 18   has-been-revoked/.
 19         On April 13, 2018, Breitbart reported Conservative Street Artist
 20   'SABO' Banned From Twitter. Please see
 21   https://www.breitbart.com/tech/2018/04/13/conservative-street-artist-sabo-
 22   ball1ed-from-twitter/.
 23          On August 6, 2018. Fox News reported Twitter apologizes afier
 24   conservative commentator Candace Owens was briefly locked out of her
 25   account. Please see
 26   http ://www.foxnews.com/entertai nment/20 I 8/08/06/twitter-apologizes-
 27
 28
                             47
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      atler-conservative-commentator-candace-owens-was-briefly-locked-out-
  2   her-account.html.
  3         On August 9, 2018, Jnfowars.com reported Apple Sav.s It Is
  4   'Monitoring' The Infowars App: Threatens To Censor Ifft Becomes
  5   'Harmfid ', "App has shot to number one on the cha1is after big tech
  6   censorship". Please see https://www.newswars.com/apple-says-it-is-
  7   monitoring-the-infowars-app-threatens-to-censor-if-it-becomes-harrnful/.
  8         On August I 0, 2018, Breitbart reported Twitter Bans Conservative
  9   Commentator Gavin Mclnnes. Please see
 I0   https://www.breitbart.com/tech/2018/08/1 O/twitter-bans-conservative-
 11   comrnentator-gavin-mcinnes/.
 12         On August 15, 2018, News Wars.com, an Info Wars.com outlet with
 13   Mr. Alex Jones, reported, Alex Jones suspended from Twitter afler tweet
 14   calling to end censorship, "according to Twitter, a tweet by Jones one day
 15   earlier was considered to be "targeted harassment."". Please see
 16   https ://www. newswars. corn/alex -j ones-suspended-from-twitter-atler-tweet-
 17   calling-to~end-censorship/   and https://www.1i.com/usa/435974-alex-jones-
 18   banned-twitter/.
 19         On August 16, 2018, Breitbart reported Twitter Purges Accounts
 20   Across The Platform -Again. Please see
 21   https://www.breitbaii.com/tech/2018/08/ l 6/twitter-purges-accounts-across-
 22   the-platform-again/.
 23         On August 16, 2018,NewsWars.com reported in From 'menace'to
 24   assets: Soros now buving social media shares that, "News of Soros's
 25   acquisitions have raised suspicions in circles that have long seen Soros as a
 26   foe of copyrights". Please see https://www.newswars.com/frorn-rnenace-
 27   to-assets-soros-now-buying-social-media-shares/. The article continues.
 28
                             48
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      "Months a-tler denouncing social 1nedia as a "1nenace to society/'
  2   controversial billionaire George Soros is again investing into Facebook,
  3   Twitter and streaming services Spotify and Pandora, while scaling back his
  4   Google holdings." Id.
  5         On August 18, 2018, The Gateway Pundit reported TRUMP GOES
  6   OFF On Social Media 'Censorship' and 'Discrimination 'Against
  7   C'onservative Voices. Please see
  8   https://www.thegatewaypundit.com/201 8/08/trump-goes-off-on-social-
  9   media-censorship-and-discrimination-against-conservative-voices/.
 10         On August 18, 2018, Diamond and Silk Inc. reported Facebook
 11   censors pro-Trump Diamond and Silk again and blocks ad for upcoming
 12   movie. Please see
 13   https://www.diamondandsilkinc.com/tabletalknews/2018/8/18/facebook-
 l4   censors-diamond-and-s i1k-again-b locks-ad-for-upcoming-movie.
 15          On August 19, 2018, Zero Hedge reported Twitter CEO Jack Dorsey
 16   admitted to CNN's Brian Stelter (fake news) on Saturday that Twitter
 17   employees have "more left-leaning" bias. Please see
 18   https://www.zerohedge.com/news/2018-08-19/shocking-admission-jack-
 l9   dorsey-admits-twitters-left-leaning-bias.
 20          On Sunday, August 19, 2018, News Wars.com reported How the Lefi
 21   b Outsourcing Censorship o(the Internet, "So liberals have outsourced
 22   censorship of the internet to the tech titans of Silicon Valley". Please see
 23   https://www.newswars.com/how-the-left-is-outsourcing-censorship-of-the-
 24   internet/,
 25          Further evidence of bias by Twitter, made possible by government
 26   action via enactment of the CDA § 230, includes the following:
 27
 28
                             49
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            On June 6, 2018, The Dai Iv Caller reported Facebook, Amazon,
  2   Google and Twitter All Work With Lefi-Wing SPIC (Southern Poverty Law
  3   Center). Please see http://dailycaller.com/2018/06/06/splc-partner-google-
  4   facebook-amazon/.
  s
  6              IF THIS COURT ERRONEOUSLY HOLDS CDA § 230
  7        CONSTITUTIONAL, IT DOES NOT APPLY IN THIS CASE
  8         173, "[AJ website does not create or develop content when it
  9   merely provides a neutral means by which third parties can post
 10   information of their own independent choosing online." Baldino~ Lock &
 11   Key Service, Inc. v. Google LLC, 2018 WL 400755 (D.D.C., 2018), quoting
 12   Klayman v. Zuckerberg, 753 FJd 1354, 1357 (D.C. Cir. 2014). Plaintiff
 13   avers that the operating word in that sentence is "neutral," of which
 14   Plaintiff alleges Twitter is not. Plaintiff alleges Twitter does not provide a
 IS   neutral means by which third parties can post information of their own
 16   independent choosing online, but Twitter is actually quite the opposite.
 17          174. "[P]ublication involves reviewing, editing, and deciding
 18   whether to publish or to withdraw from publication third-party content."
 19   Barnes v. Yahoo!, Inc,, 570 F.3d 1096, 1102 (9th Cir. 2009). (A publisher is
 20   one who "reviews material submitted for publication, perhaps edits it for
 21   style or technical fluency, and then decides whether to publish it."); Doe v.
 22   Internet Brands, Inc., 824 FJd 846, 852 (9'" Cir. 2016) ("Jane Doe's failure
 23   to warn claim has nothing to do with Internet Brands' efforts, or lack
 24   thereof, to edit, monitor or remove user generated content.").
 25          Plaintiff provides the following evidence, and can provide additional
 26   evidence, proving that Twitter, Inc. is reviewing, editing, and deciding
 27   whether to publish or to withdraw from publication third-party
 28
                                             so
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             175. Contrary to Perkins Coie LLP's claims on behalf of Twitter in
  2   response to Plaintiff's First Amended Complaint, "Plaintiff's claims target
  3   Twitter 's exercise of editorial discretion and improperly attempt to hold
  4   Twitter liable for the conduct of the account creator," (see generally
  5   Twitter's Motion to Dismiss Plaintiff's First Amended Complaint),
  6   Plaintiff's claims against Twitter do not attempt to hold Twitter liable for
  7   the conduct of the account creator.
  8          176. As explained further below, Plaintiff's claims against Twitter
  9   attempt to hold Twitter liable for Twitter's conduct including, but not
 I0   limited to, express contractual obligations and explicit promises, and not
 11   that of the account creator, John Doe. Plaintiff also alleges fraud,
 12   conspiracy to commit fraud, and violations of the RICO act against Twitter,
 13   none of which are barred by the CDA.
 14            CDA § 230 Does Not Bar Claims Brought Under The Federal
 15                                     RICO Act
 16          177. Claims of Twitter engaging in a criminal enterprise under the
 17   definition of the RICO act are not barred by CDA § 230 because operating
 18   a criminal enterprise in violation of the RICO Act is not publishing under
 19   these definitions because it does not involve reviewing, editing or deciding
 20   whether to publish or withdraw tweets.
 21                 CDA § 230 Does Not Bar Breach of Contract Claims
 22          178. Twitter breaching its contract with Ms. Dehen is not
 23   publishing under these definitions because it does not involve reviewing,
 24   editing or deciding whether to publish or withdraw tweets.
 25                        CDA § 230 Does Not Bar Fraud Claims
 26
 27
 28
                             51
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            179. Twitter engaging in fraud is not publishing under these
  2   definitions because it does not involve reviewing, editing or deciding
  3   whether to publish or withdraw tweets.
  4         180. Similarly, Twitter fraudulently misrepresenting in its posted
  5   Terms of Use is not publishing under these definitions because it does not
  6   involve reviewing, editing or deciding whether to publish or withdraw
  7   tweets.
  8                        CDA § 230 Does Not Bar Extortion Claims
  9         18 I. Twitter engaging in extortion is not publishing under these
 10   definitions because it does not involve reviewing, editing or deciding
 11   whether to publish or withdraw tweets.
 12                       CDA § 230 Does Not Bar Conspiracy Claims
 13         182. Twitter engaging in a criminal and/or civil conspiracy is not
 14   publishing under these definitions because it does not involve reviewing,
 15   editing or deciding whether to publish or withdraw tweets as a publisher.
 16         183. Plaintiff further reserves the right to allege that Twitter
 17   illegally conspired as a co-conspirator in the fraudulent scheme amounting
 18   to a violation of the Sherman Act, a conspiracy in the restraint of trade in
 19   interstate commerce, with both Perkins Coie LLP and social media
 20   companies including, but not limited to, Facebook and Google.
 21                              SHERMAN ANTITRUST ACT
 22             15 U.S.C. § 1 provides the following:
 23
 24          Every contract, combination in the form of trust or otherwise. or
      conspiracy, in restraint of trade or commerce among the several States. or
 25   with foreign nations. is declared to be illegal. Every person who shall
 26   make any contract or engage in any combination or conspiracy hereby
      declared to be illegal shall be deemed guilty of a felony, and. on conviction
 27   thereot: shall be punished by fine not exceeding $100,000,000 if a
 28   corporation. or, if any other person. $1,000.000, or by imprisonment not
                                             52
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  1   exceeding I 0 years, or by both said punishments, in the discretion of the
      court.
  2
  3
            See 15 U.S.C. § 1
  4
                             FIRST CAUSE OF ACTION
  5
                            Willful Copyright Infringement
  6
                                  Against John Doe(s)
  7
            184. Plaintiff hereby incorporates by reference all stated paragraphs
  8
      as though fully set forth herein.
  9
            185. Plaintiff is, and at all relevant times has been, the legal
 10
      copyright owner, under U.S. Copyright Law, 17 U.S.C. § 201(a), of the
 11
      copyrighted photographs referenced above. Registration Numbers have
 12
      been officially issued by the U.S. Copyright Office of the copyright
 13
      registrations identified in Exhibits 68, 69, 70, and 71 attached hereto,
 14
      which is the subject of a valid Certificate of Copyright Registration issued
 15
      by the United States Copyright Office.
 16
             186. Registration is a prerequisite to filing a lawsuit for copyright
 17
      infringement involving a U.S, work. See 17 U.S.C. § 41 l(a); see also
 18
      Petrella v. Metro-Goldwyn-Mayer, Inc., 132 S. Ct. 1962, 1977 (2014)
 19
      ("Although registration is 'permissive,' both the certificate and the original
 20
      work must be on file with the Copyright Office before a copyright owner
 21
      can sue for infringement."); Alaska Stock, LLC. v. Houghton Mifflin
 22
      Harcourt Publishing Co., 747 F.3d 673, 678 (9th Cir. 2014) ("Though an
 23
      owner has property rights without registration, he needs to register the
 24
      copyright to sue for infringement,").
 25
             187. Plaintiff submitted federal copyright registration applications
 26
      for all four photographs on 03/31/2017 and 04/0112017, which she is
 27
 28
                             53
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i
I
!     I   entitled to do under 17 U.S.C. § 410 within five years after first publication
      2   of the works.
      3             188. Among the exclusive rights granted to Plaintiff under the U.S.
      4   Copyright Act is the exclusive right to reproduce the Copyrighted Works
      5   and to distribute the Copyrighted Works to the public.
      6             189. Plaintiff is informed and believes and thereon alleges that John
      7   Doe(s), without the permission or consent of Plaintiff, produced the six
      8   Infringing Works, which are substantially similar, not to mention extremely
      9   damaging, reproductions of the four Copyrighted Works referenced above.
     10             190. Plaintiff is informed and believes and thereon alleges that
     11   Doe(s) distributed the Copyrighted Works to the public, and/or made the
     12   Copyrighted Works available for distribution to others, and publicly
     13   displayed the Infringing Works, including via the Twitter account
     14   @tiffanydehen, on Twitter, a social media website with over 313 million
     15   active monthly users.
     16             191. Through the conduct alleged herein, Doe(s) directly infringed
     17   Plaintiffs rights in the Copyrighted Works, including by reproducing,
     18   distributing, and publicly displaying the Copyrighted Works, in violation of
     19   Sections 106 and 501 of the Copyright Act 17 U.S.C. §§ 106 and 501.
     20             192. Defendant Doe(s)'s actions constitute direct infringement of
     21   Plaintiffs copyrights and exclusive rights under U.S. Copyright Law.
     22             193. Doe(s)'s acts of infringement are willful, intentional and
     23   purposeful, in reckless disregard of and with indifference to Plaintiffs
     24   rights.
     25             194. Doe(s) is/are not entitled to the affirmative defense of fair use
     26   in this case because Doe(s)'s use of the infringing works is in the same
     27   market as Plaintiff and actually damaging Plaintiffs economic prospects in
     28
                                 54
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      that market. Doe(s)'s use of the Copyrighted Works does not constitute
  2   social commentary, criticism, or news reporting because Doe(s) used Ms.
  3   Dehen's legal name as the author of the posts, leading the public to believe
  4   Ms. Dehen was responsible for the Twitter account. 124. The artistic
  5   nature of the Copyrighted Works weighs against fair use, as do the facts
  6   that, Doe(s) used the Copyrighted Works in their entirety and Doe's use is
  7   negatively impacting the potential market for the Copyrighted Works.
  8          195. By means of the actions complained of herein, Doe(s)
  9   willfully infringed and may continue to infringe Plaintiff's Copyrighted
 IO   Works outlined above, by publishing, reproducing, copying, distributing,
 11   and using, in whole or in part, Plaintiff's Copyrighted Works.
 12          196. As a direct and proximate result of Defendant Doe(s)'s
 13   infringement of Plaintiff's copyrights and exclusive rights in the
 14   Copyrighted Works under U.S. Copyright Law, Plaintiff is entitled to.
 15   recover actual damages, pursuant to 17 U.S.C. § 504(b ), for her lost profits
 16   as a result of Defendant's infringement, in an amount to be proven at trial.
 17          197. Had Plaintiff registered her copyright three days earlier than
 18   04/01/2017 in the work titled, "Christmas MAGA," Plaintiff would further
 19   be entitled to statutory damages in an amount to be determined by the trier
 20   of fact, attorneys' fees and costs pursuant to 17 U.S.C. §§ 412(c), 504, 505
 21   since the date the infringement began was 01/29/2017. Plaintiff would
 22   have also been entitled to an enhancement of her statutory damages award,
 23   up to $150,000 for each infringement, pursuant to 17 U.S.C. § 504(c)(2).
 24          198. As a direct and proximate result of the foregoing acts and
 25   conduct, Plaintiff has sustained and will continue to sustain substantial,
 26   immediate, and irreparable injury, for which there is no adequate remedy at
 27   Jaw.
 28
                             55
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            199. Plaintiff is informed and believes and on that basis alleges that
  2   unless enjoined and restrained by this Court, Defendant will continue to
  3   infringe Plaintiffs rights in the Copyrighted Works and cause Plaintiff
  4   irreparable injury that cannot be fully compensated.
  5         200. Therefore, pursuant to 17 U.S.C. §§ 502 and 503, Plaintiff is
  6   entitled to preliminary and permanent injunctive relief to restrain and
  7   enjoin Defendant's continuing infringing conduct, including, but not
  8   limited to, an order prohibiting Defendant Doe(s) from further infringing
  9   Plaintiffs copyrights and directing Defendant to destroy the Infringing
 10   Works and all identical and substantially similar copies thereof made in
 11   violation of Plaintiffs exclusive rights.
 12                         SECOND CAUSE OF ACTION
 13                 Malicious Defamation Through Libel Per Se
 14                                 Against John Doe
 15         201. Plaintiff hereby incorporates by reference all stated paragraphs
 16   as though fully set forth herein.
 17          202. Doe(s)'s intentional publications by Internet were and are
 18   false, unprivileged, have a natural tendency to injure, and cause special
 19   damage, and thus constitute defamation per se under California Civil Code
 20   sections 44, 45, and under the common law and case law of California.
 21          203. Plaintiff is informed and believes, and thereon alleges, that
 22   Doe(s) intentionally created the Twitter account using the domain
 23   @tiffanydehen, knowing that he was not in fact, Ms. Dehen, and
 24   deliberately posted each one of the aforementioned defaming Tweets.
 25          204. Doe(s) expressly referred to Plaintiff in each Tweet because he
 26   used Plaintiffs true and legal name as the usemame. Further, Defendant
 27
 28
                             56
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      used actual photographs of Ms. Dehen to represent Ms. Dehen and
  2   retweeted Ms. Dehen's personal Twitter account.
  3         205. Doe(s) claimed to be a parody account of "Republican White
  4   Women," yet posted no other tweets from any "Republican White Women"
  5   other than Ms. Dehen.
  6         206. Doe(s)'s actions are clearly intentional, as evidenced by the
  7   fact that Doe(s) expended a considerable amount of time and effort creating
  8   the false Twitter account, following the aforementioned 22 Twitter users,
  9   meticulously downloading and altering the 4 copyrighted photos from both
 I0   Twitter and Linkedln, publishing the six Infringing Works, and posting the
 11   24 defaming tweets.
 12         207. The defamatory tweets were not privileged.
 13         208. Doe(s) did not engage in a one-time piece of snideness, but
 14   rather a campaign against Ms. Dehen with defamatory accusations that
 15   tarnish and disparage her and hurt her reputation and economic interests.
 16         209. Doe(s) deliberately published the Infringing Works with the
 17   defaming Swastikas drawn in, with the intent to refer to the National
 18   Socialist German Workers' Party, evidenced by the fact he followed Adolf
 19   Hitler Fuhr through the Twitter account.
 20         210. Plaintiff is informed and believes, and thereon alleges, that the
 21   publication by Internet is a communication to the public, and to third
 22   parties, who reasonably understood that the defaming tweets and
 23   photographs were about Ms. Dehen or posted by Ms. Dehen, and that such
 24   third parties further reasonably understood the statements to mean that
 25   either Doe(s) or Ms. Dehen wrote the statements in fact, and not merely as
 26   a matter ofDoe(s)'s opinion.
 27
 28
                             57
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            211. Doe(s) did not lead the public to believe that the defaming
  2   account was a parody of Ms. Dehen, but rather a parody of Republican
  3   White Women in general, yet only used Ms. Dehen's true name and only
  4   drew Swastikas on Ms. Dehen's photographs, thereby contradicting the
  5   true nature of the Twitter account.
  6         212. Although there were only three followers at the time Ms.
  7   Dehen found the account, Ms. Dehen has no way to know how many
  8   people actually saw the offending account and various tweets.
  9         213. The defaming account actually did cause confusion in the
 I0   marketplace because at least one of Ms. Dehen's actual followers followed
 11   the account, @BrittTaylorGOP, who is Ms. Dehen's follower of her
 12   personal Twitter account @tiffanysundevil. See Exhibit 56.
 13         214. The representation of Ms. Dehen on the Twitter account is
 14   false, as Ms. Dehen is not a supporter of the National Socialist German
 15   Workers' Party, nor a supporter of the Ku Klux Klan.
 16         215. The tweets are not legitimate criticism, they are not parody,
 17   they are notjoking, and they are not ironic.
 18         216. The defaming statements are particularly malicious and
 19   harmful, as Doe(s)'s attacks actually constitute an attack on an aspect of
 20   Ms. Dehen's heritage and Ms. Dehen's late grandfather, CaptainRetired
 21   Colonel John D. Raikos suffered extreme emotional distress the duration of
 22   his life from what he saw in the war related to the 83rd Infantry's liberation
 23   of Nazi concentration camps.
 24          217. Further, Doe(s)'s statements have the potential to damage
 25   actual professional relationships that exists between Plaintiff and the
 26   Tucson Jewish Community Center and between Plaintiff and the State Bar
 27   of California.
 28
                             58
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            218. Had John Doe(s) acted in good faith, a simple Google search
  2   of Ms. Dehen would have shown Doe(s) that Ms. Dehen's late grandfather
  3   was CaptainRetired Colonel John D. Raikos, who was awarded the
  4   following decorations for his role in the 83rd Infantry of the United States
  5   Army in World War II: Combat Infantryman Badge, Silver Star Medal,
  6   Bronze Star Medal with Oak Leaf Cluster, Purple Heart with Oak Leaf
  7   Cluster, Good Conduct, American Campaign Medal, WWII Victory Medal,
  8   and the EAME Campaign Medal with 5 Bronze Stars for the Five
  9   Campaigns.           See          Exhibit                    or         visit
 10   http://www.normandytothebulge.be/83rd_JRaikos.html.
 11         219. Plaintiff contends Dcie(s)'s actions fall outside the protection
 12   of the First Amendment, even for purposes of anonymous speech, which
 13   can't be remedied by a simple disclaimer of"parody account," while using
 14   Ms. Dehen's true legal name as the username, publishing Ms. Dehen's
 15   copyrighted photographs altered with disparaging Swastikas, and expressly
 16   suggesting Ms. Dehen is affiliated with the National Socialist German
 17   Workers' Party or the Ku Klux Klan.
 18         220. The defamatory statements Doe(s) published on Twitter were
 19   of and concerning Plaintiff, cast Ms. Dehen in a false light, were attacks on
 20   her reputation which discouraged members of the public from having a
 21   positive opinion of her, and exposed Ms. Dehen to potential verbal,
 22   physical, and mental abuse.
 23         221. The defaming Twitter account is adverse to Plaintiffs
 24   profession and business and the defamatory publications foreseeably
 25   caused substantial damage to her business, career, reputation and her actual
 26   and prospective economic relationships.
 27
 28
                             59
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            222. Plaintiffs reputation is subjected to scrutiny in the legal
 2    profession, as well as in the Bar application process.
 3          223. The injurious character of the defamatory statements on
 4    Twitter is self-evident and constitutes defamation per se.
  5         224. Plaintiff is not required to allege special damages because
 6    Doe's statements are defamatory on their face, such that the statements
  7   malign the Plaintiffs profession and business.
 8          225. The nature of the Twitter account, related tweets and
  9   photographs are so obscene as to lead Plaintiff to allege Doe(s) published
 10   the aforementioned tweets maliciously with the intent to cause pain and
 11   suffering to Ms. Dehen and to destroy her professional reputation and to
 12   cause her to lose clients and job prospects.
 13         226. Doe(s)'s intent to act with malice is evidenced by the injurious
 14   nature of each of the tweets, the misspelling on the various tweets and
 15   photographs, the fact Doe used Ms. Dehen' s true and legal name, and the
 16   inherently injurious nature of the Twitter accounts Doe followed, such as
 17   the Ku Klux Klan and Adolf Hitler.
 18         227. Further, Doe(s) knew, or should have known, that Ms. Dehen
 19   was actively seeking bar admittance and a position in the legal industry, as
 20   evidenced on Ms. Dehen's Twitter account and Linkedln, both of which he
 21   deliberately referenced to obtain Ms. Dehen's personal information and
 22   photographs. See Exhibits 60-61.
 23         228. Upon information and belief, Doe(s) even went to such
 24   lengths to create false Facebook accounts and harass Ms. Dehen with
 25   several friend requesis in an attempt to gain more personal information on
 26   Ms. Dehen.
 27
 28
                             60
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             229. Plaintiff believes the actions by Doe(s) may reduce her
  2    chances of passing the bar, which will prevent her from being admitted to
  3   the bar, and thus, could limit her prospects in the legal industry.
  4          230. Plaintiff was in the process of pursuing several business
  5   ventures which would rely upon her reputation, and which have been
  6   · damaged and put on hold by the injury that led to this cause of action, and
  7    may even limit the future revenue generated by these business ventures.
  8          231. Plaintiffs credit has been negatively impacted, which may
  9    affect her ability to finance assets and obtain employment, thus potentially
 10    negatively impacting her quality oflife.
 11          232. In attempting to defend her name in Court, Plaintiff has been
 12    subjected to widespread criticism and condemnation from various members
 13    of the legal community, as well as certain classmates, family, friends and
 14    acquaintances, in addition to harassment and abuse by some members of
 15    the public.
 16          233. Doe(s)'s statements have not only caused damage to Ms.
 17    Dehen's reputation and economic interests, but have also resulted in
 18    emotional distress. See Seventh Cause of Action below.
 19          234. As a result ofDoe(s)'s conduct, Plaintiff has been damaged in
 20    an amount to be proven at trial.
 21           235. Doe(s)'s intentional and knowing per se defamation of Ms.
 22    Dehen constitutes malice and oppression under California Civil Code
 23    section 3294, and therefore Plaintiff is entitled to punitive damages against
 24    Twitter in an amount sufficient to punish and set an example of him, which
 25    amount is to be proven at trial.
 26                           THIRD CAUSE OF ACTION
 27                       Violation of Cal. Penal Code § 528.5
 28
                              61
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                                  Against John Doe(s)
 2          236. Plaintiff hereby incorporates by reference all stated paragraphs
  3   as though fully set forth herein.
  4         237. Plaintiff alleges Doe(s) is criminally liable under Cal. Penal
  5   Code § 528.5, because Doe credibly impersonated Ms. Dehen, an actual
 6    person, online, and without Ms. Dehen's consent, for the purposes of
  7   harming, intimidating, or threatening her, which pursuant to Cal. Penal
  8   Code § 528.5(e}, entitles Ms. Dehen to compensatory damages and
  9   injunctive relief, as well as other equitable relief because she suffered
 l0   damage and loss.
 11         238. Upon information and belief, John Doe(s) engaged in a
 12   predatory scheme aimed at harming, humiliating, threatening, and
 13   intimidating Plaintiff leading up to and including the injury that led to this
 14   cause of action.
 15          239. Due to the injurious nature of the tweets and photographs,
 16   Plaintiff alleges Doe(s) impersonated Ms. Dehen with the intent to cause
 17   Ms. Dehen harm to her personal reputation, professional reputation,
 18   economic interests, and profession.
 19                         FOURTH CAUSE OF ACTION
 20    Rescission For Fraud In Violation of Cal. Civil Code§ 1572 or§ 1573
 21                                  Against Twitter
 22          240. Plaintiff hereby incorporates by reference all stated paragraphs
 23   as though fully set forth herein.
 24          241. Pursuant to California Civil Code § 1689, an alleged contract
 25   may be rescinded if all the parties thereto consent or if the consent of the
 26   party rescinding was given by mistake, or obtained through fraud, or
 27   exercised by or with the connivance of the party as to whom it rescinds.
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                             62
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            242. Rescission under California Civil Code § 1689 is also
  2   appropriate where the purported contract was induced                by fraud,
  3   misrepresentation, and/or fraudulent misrepresentation, or where there is
  4   failure of consideration.
  5         243. On October 9, 2015, Twitter fraudulently misrepresented to
  6   Plaintiff that Twitter would investigate reported accounts to determine if
  7   the accounts are in violation of the Twitter Rules upon receipt of an
  8   impersonation report by Plaintiff.
  9         244. Twitter violated California Civil Code § 1572 by promising to
 10   investigate the reported accounts to determine if the accounts are in
 11   violation of the Twitter Rules in the Impersonation Policy, without any
 12   intention of performing the aforementioned investigation upon receipt of an
 13   impersonation report.
 14         245. Plaintiff alleges Twitter had no intention of investigating the
 15   reported account unless and until Plaintiff provided additional information
 16   in the form of a government issued identification card.
 17         246. In addition, there is a failure of consideration with respect to
 18   ·the revised Impersonation Policy in that they are illusory, and lack
 19   mutuality    because        Plaintiff   relied   upon   Twitter's   fraudulent
 20   misrepresentation that it would investigate offending accounts upon receipt
 21   of an impersonation report when she entered into the user agreement with
 22   Twitter; Plaintiff has been harmed by a result of that reliance. Under basic
 23   contracts principles Twitter is not allowed to change its contractual terms
 24   unilaterally after partial performance.
 25         247. Plaintiff alleges Twitter failed to disclose material terms of the
 26   user agreement by purposely not disclosing the fact Twitter. would need a
 27   government issued photograph identification in order to proceed with an
 28
                             63
      SECOND AMENDED COMPLAINT                         No.: 17-cv-00198-LAB-WVG
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  1   investigation into an account reported to be in clear violation of the
  2   Impersonation Policy under the Twitter Rules.
  3          248. Twitter · benefitted from      the concealment of the true
  4   impersonation process by, inter alia, the advertising revenues Twitter
  5   earned off of the impersonating account.
  6          249. Upon information and belief, Plaintiff alleges that at such time
  7   as these representations were made, Twitter intended that Plaintiff would
  8   rely on their representations.
  9          250. Plaintiff was harmed, and similarly situated plaintiffs continue
 10   to be harmed, by their reliance upon the representation of Twitter that it
 11   will take down impersonating accounts upon receipt of an impersonation
 12   report.
 13          251. The false representation of Twitter was a substantial factor in
 14   causing harm to Plaintiff in the form of economic injury and emotional
 15   distress.
 16             252. If Twitter's actions do not amount to actual fraud under
 17   California Civil Code § 1572, which is a question of fact for the fact finder,
 18   Plaintiff alleges Twitter engaged in constructive fraud in violation of
 19   California Civil Code § 1573 because even lacking fraudulent intent,
 20   Twitter gained an advantage through advertising revenues off of the
 21   impersonation of Plaintiff, for which Twitter promised to remove upon
 22   receipt of an impersonation report, and Plaintiff relied on and was harmed
 23   by Plaintiff's failure to do so.
 24             253. Plaintiff intends service of the Summons and Complaint in this
 25   action to serve as notice of rescission of the additional impersonation
 26   policy imposed on Plaintiff after Plaintiff performed.
 27
 28
                             64
      SECOND AMENDED COMPLAINT                       No.: 17-cv-00198-LAB-WVG
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                254. Plaintiff reserves the right to add a class of Plaintiffs which
  2   might be similarly situated to this cause of action as the lead Plaintiff, in
  3   the interest of justice if so required, pursuant to Rule 23 of the Federal
  4   Rules of Civil Procedure.
  5             255. Plaintiff    contends   Twitter   cannot    successfully   assert
  6   Communications Decency Act (CDA) § 230 as a defense to this action, as
  7   CDA § 230 does not bar causes of action that arise out of breach of
  8   contract. The Ninth Circuit held, and reaffirmed, that the CDA does not
  9   declare "a general immunity against all claims derived from third-party
 10   content." See Barnes v. Yahoo!, Inc., 570 F.3d at 1100; see also Doe v.
 11   Internet Brands, Inc., 824 F.3d 846, 852 (9th Cir. 2016).
 12                              FIFTH CAUSE OF ACTION
 13                                   Declaratory Relief
 14                                    Against Twitter
 15             256. Plaintiff hereby incorporates by reference all stated paragraphs
 16   as though fully set forth herein.
 17             257. An actual, justiciable controversy has arisen and now exists
 18   between Plaintiff and Twitter, relating to their respective legal rights, duties
 19   and obligations, such that it is necessary for the Court to determine the
 20   parties' respective rights, duties and obligations.
 21             258. Plaintiff therefore respectfully requests that this Court enter an
 22   Order, pursuant to 28 U.S.C. § 1692:
 23             a) That the Terms of Use Agreement set forth above are void ab
 24   initio;
 25             b) In the alternative, order that the contract between Plaintiff and
 26             Twitter is unenforceable on the grounds that it is illusory, Jacks
 27             mutuality, fails of consideration;
 28
                             65
      SECOND AMENDED COMPLAINT                         No.: 17-cv-00198-LAB-WVG
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  1         c) In the alternative, order that the contract between Plaintiff and
  2         Twitter is rescinded pursuant to California Civil Code §1689 on the
  3         grounds that they were mutually rescinded, Plaintiffs consent was
  4         given by mistake, obtained through fraud, concealment and
  5         misrepresentation, and/or exercised by or with the connivance of
  6         Twitter, and there is failure of consideration;
  7         d) Order that Plaintiff is under no legal obligation to compensate or
  8         pay Twitter under the terms of the contract between Twitter and
  9         Plaintiff as it is void ab initio, unenforceable, and/or rescinded; and
 10         (e) Ordering the parties restored to their former positions and
 11         requiring them to return whatever they received, if anything, under
 12         the revised contract pursuant to California Civil Code§ 1692.
 13                          SIXTH CAUSE OF ACTION
 14     Intentional Interference With Actnal and/or Prospective Economic
 15                                       Relations
 16                               Against John Doe(s)
 17         259. Plaintiff hereby incorporates by reference all stated paragraphs
 18   as though fully set forth herein.
 19         260. Plaintiff alleges intentional interference with actual and
 20   prospective economic relations against John Doe(s).
 21         261. Plaintiff has numerous business ventures in place she is
 22   currently pursuing, including admittance to the California Bar, a job in the
 23   legal profession, as well as various business ventures that probably would
 24   have resulted in a future economic benefit to Plaintiff.
 25         262. John Doe(s) knew, at the very least, that Plaintiff was
 26   currently seeking admittance to the State Bar of California through direct
 27   evidence including, but not limited to, Plaintiff's various social media
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                             66
      SECOND AMENDED COMPLAINT                        No.: 17-cv-00198-LAB-WVG
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      profiles Doe used in creating the Twitter account and content, notably
  2   Plaintiff's Linkedln profile which specifically references the fact that
  3   Plaintiff was enrolled at the University of San Diego Law School as a Juris
  4   Doctor Candidate 2016, which is the social media profile Doe found the
  5   photograph titled, "Tiffany Pro," as Plaintiff alleges, upon information and
  6   belief, that Linkedln is the only social media platform which she posted the
  7   photograph titled, "Tiffany Pro."
  8         263. John Doe(s) intended to disrupt Plaintiff's admittance to the
  9   State Bar of California by engaging in the wrongful conduct referenced
 10   above.
 lI         264. John Doe(s) failed to act with reasonable care and engaged in
 12   wrongful conduct, referenced above.
 13         265. Doe(s)'s actions were intentionally made and were foreseeably
 14   and substantially certain to cause interference with Plaintiff's actual and/or
 15   prospective business relationships by damaging Plaintiff's good name and
 16   reputation, and deterring persons and entities from doing business with her.
 17            266. Doe(s)'s conduct alleged herein actually interfered with
 18   Plaintiff's actual and/or prospective business relationships as referenced
 19   above. Plaintiff has an actual business relationship with the Tucson Jewish
 20   Community Center, of which is reasonably foreseen to be damaged as a
 21   result ofDoe(s)'s despicable conduct.
 22                         SEVENTH CAUSE OF ACTION
 23                    Intentional Infliction of Emotional Distress
 24                                 Against John Doe
 25            267. Plaintiff hereby incorporates by reference all stated paragraphs
 26   as though fully set forth herein.
 27
 28
                             67
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            268. At all times relevant to the matters alleged in this Complaint,
  2   John Doe(s) owed a duty of care to prevent Plaintiff from being injured as a
  3   result ofDoe(s)'s conduct.
  4         269. Doe(s) intentionally, willfully and maliciously breached the
  5   aforesaid duty of care owed to the Plaintiff and engaged in extreme and
  6   outrageous conduct by viciously impersonating and defaming Plaintiff.
  7         270. John Doe(s) engaged in this extreme and outrageous conduct
  8   with the intent of causing, or in reckless disregard of the probability of
  9   causing, severe emotional distress to the Plaintiff.
 10         271. As a direct and proximate result of Doe(s)'s extreme and
 11   outrageous conduct, Plaintiff has suffered extreme mental and emotional
 12   distress. Plaintiff feared, and continues to fear, for her physical safety.
 13   Plaintiff will likely incur medical expenses, including expenses for
 14   psychiatric care and psychological counseling services.
 15         272. Plaintiff will seek leave to amend this complaint once the
 16   identity/identities of John Doe(s) is/are confirmed to include additional
 17   harassment which Plaintiff suspects occurred in connection with the
 18   injuries stated herein.
 19                         EIGHTH CAUSE OF ACTION
 20                    Negligent Infliction of Emotional Distress
 21                                  Against Twitter
 22          273. Plaintiff hereby incorporates by reference all stated paragraphs
 23   as though fully set forth herein.
 24          274. At all times relevant to the matters alleged in this Complaint,
 25   Twitter owed a duty of care to prevent Plaintiff from being injured as a
 26   result ofTwitter's conduct.
 27
 28
                             68
      SECOND AMENDED COMPLAINT                        No.: l 7-cv-00198-LAB-WVG
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             275. Twitter breached the aforesaid duty of care owed to the
  2   Plaintiff by breaching its contract with Plaintiff and then allowing the
  3   continued publication of Doe's harmful conduct to persist after breaching
  4   its contract with Plaintiff.
  5          276. As a direct and proximate result of Twitter's negligent
  6   conduct, Plaintiff has suffered extreme mental and emotional distress.
  7   Plaintiff feared, and continues to fear, for her physical safety, and that she
  8   will be wrongly accused in the public view. Plaintiff will likely incur
  9   medical    expenses,     including   expenses   for   psychiatric   care   and
 10   psychological counseling services.
 11                           NINTH CAUSE OF ACTION
 12                                  Civil Conspiracy
 13          277. Plaintiff hereby incorporates by reference all stated paragraphs
 14   as though fully set forth herein.
 15          278. Plaintiff reserves the right to bring any and all additional
 16   causes of action including but not limited to, a cause of action for civil
 17   conspiracy amongst any or all of the named and unnamed defendants.
 18          279. Plaintiff reserves the right to bring a cause of action for civil
 19   conspiracy, as well as amend the above Causes of Actions accordingly, if
 20   discovery reveals that it is probable that more than one individual engaged
 21   in the procurement, constructing, or publishing of the Twitter account with
 22   domain @tiffanydehen and Infringing Works, in any capacity whatsoever
 23   to Defendants' economic benefit and Plaintiffs economic harm.
 24          280. Plaintiff reserves the right to bring any and all additional
 25   causes of action against any or all defendants who conspired together, or
 26   acted alone, in illegally extorting and/or exploiting Plaintiff to Plaintiffs
 27   harm and Defendant's benefit.
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                             69
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            281. Plaintiff reserves the right to bring additional claims including,
  2   but not limited to, claims relating to conflicts of interest against Perkins
  3   Coie LLP. For the record, Plaintiff alleges Perkins Coie LLP attempted to
  4   exploit and extort her illegally for their client's illegal gains. Plaintiff goes
  5   so far as to allege that discovery will prove that Perkins Coie LLP is guilty
  6   of violating numerous federal laws including, but not limited to, conspiring
  7   in the restraint of trade in violation of the Sherman Act, obstructing justice,
  8   impeding federal law enforcement investigations, contempt of court,
  9   treason, conspiracy to commit treason, racketeering activity in violation of
 10   the RICO statute mentioned above including operating a criminal
 11   enterprise, engaging in patterns of fraud, extortion, exploitation and
 12   blackmail. It would not be the first time Perkins Coie LLP was accused of
 13   aiding and abetting its clients in the commission of crimes, as Perkins Coie
 14   is currently at the center of a wide scale United States investigation which
 15   includes possible claims of treason, jeopardizing the ethical standards of
 16   the entire international law firm.      Please see the recently declassified
 17   Nunes                   Memo                     available                  here:
 18   https://intelligence.house.gov/news/documentsingle.aspx?DocumentID~85

 19   6.
 20                          TENTH CAUSE OF ACTION
 21                         Violation of 18 U.S. Code§ 1962
 22                                   Against Twitter
 23           282. Plaintiff hereby incorporates by reference all stated paragraphs
 24   as though fully set forth herein.
 25           283. Plaintiff brings a Cause of Action under 18 U.S. Code§ 1964
 26   against Twitter for the injuries sustained by Plaintiff, and all other
 27   individuals similarly situated if justice permits or requires pursuant to the
 28
                             70
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      Federal Rules of Civil Procedure Rule 23, as a result of Twitter's
  2   fraudulent misrepresentations and scheme to defraud in violation of 18 U.S.
  3   Code § l 962(C).
  4         284. At all relevant times, Defendant Twitter was a "person" within
  5   the meaning of 18 U.S.C. § 1961(3) because it was "capable of holding a
  6   legal or beneficial interest in property."
  7         285. Twitter is an "enterprise" within the meaning of 18 U.S.C.
  8   § 1961(4), through which Defendant Twitter conducted the pattern of
  9   racketeering activity described herein. Throughout its existence, Twitter
 I0   engaged in, and its activities affected interstate commerce because it
 11   involved commercial activities across state lines, including national
 12   marketing campaigns and the solicitation and receipt of money in the form
 13   of advertising revenues from victims located throughout the country.
 14         286. Plaintiff alleges       Twitter participated   in a pattern      of
 15   racketeering activity, as defined by 18 U.S.C. § 1962(5), consisting of
 16   numerous and repeated uses of interstate wire communications to execute a
 17   scheme to defraud in violation of 18 U.S.C. § 1962(c).
 18          287. The fraudulent express misrepresentations by Twitter of the
 19   terms of the Twitter User Agreement was created and/or used as a tool to
 20   carry out the Scheme and pattern of racketeering activity.
 21          288. Plaintiff alleges Defendant Twitter has committed at least two
 22   acts of racketeering activity, i.e., indictable violations of 18 U.S.C. § 1343,
 23   within the past ten years. The multiple acts of racketeering activity that
 24   they committed and/or conspired to, or aided and abetted in the
 25   commission of, were related to each other, pose a threat of continued
 26   racketeering activity, and therefore constitute a "pattern of racketeering
 27   activity."
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                             71
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            289. Defendant Twitter's predicate acts of racketeering within the
 2    meaning of 18 U.S.C. § 1961(1) include, but are not limited to:
 3          (a) Wire Fraud: Defendant Twitter violated 18 U.S.C. § 1343, by
 4          transmitting and receiving, or causing to be transmitted or received,
  5         materials by wire for the purpose of executing the Scheme, which
  6         amounts to a material scheme to defraud and obtain money on false
  7         pretenses, misrepresentations, promises, and/or omissions.        The
  8         materials transmitted and/or received include but are not limited to,
  9         interstate credit card transactions, publication by Internet promoting
 I0         the Scheme, and the fraudulent misrepresentation in Twitter's Terms
 II         of Use.
 12         290. Defendant Twitter knowingly and intentionally made these
 13   misrepresentations, acts ofconcealment and failures to disclose. Defendant
 14   Twitter either knew or recklessly disregarded that these were material
 15   misrepresentations and omissions.
 16         291. Defendant Twitter obtained money and property belonging to
 17   Plaintiff, and the Class as a result of these violations. Plaintiff alleges
 18   Plaintiff and other Class Members been injured in their business or
 19   property by Defendant Twitter's overt acts of wire fraud.
 20         292. Plaintiff and the Class have been injured in their property by
 21   reason of Twitter's violations of 18 U.S.C. § 1962, including the damage
 22   done to Plaintiffs reputation as a result of relying on Twitter's fraudulent
 23   misrepresentation, which collectively amounts to tens of millions of
 24   dollars, plus the advertising revenues Twitter obtained off the fraudulent
 25   misrepresentations. In the absence of Defendant Twitter's violations of 18
 26   U.S.C. § 1962, Plaintiff and the Class would not have incurred these losses.
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                             72
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            293. Plaintiff's and the Class's injuries were directly and
  2   proximately caused by Defendant Twitter's racketeering activity.
  3         294. Twitter knew and intended that Plaintiff and the Class would
  4   rely on the Scheme's fraudulent misrepresentations and omissions.
  5   Defendant Twitter knew and intended Plaintiff, and the Class, would enter
  6   into the terms of use, and pay advertising fees, as a result of the same.
  7         295. Under the provisions of 18 U.S.C. § 1964(c), Plaintiff is
  8   entitled to bring this action and to recover their treble damages, the costs of
  9   bringing this suit and reasonable attorneys' fees.
 10         296. Defendant Twitter is accordingly liable to Plaintiff and the
 11   Class for three times their actual damages as proved at trial plus interest
 12   and attorneys' fees.
 13                       ELEVENTH CAUSE OF ACTION
 14                                          Libel
 15                                  Against Twitter
 16         297. Plaintiff hereby incorporates by reference all stated paragraphs
 17   as though fully set forth herein.
 18         298. Plaintiff reserves the right to bring a cause of action against
 19   Twitter for libel in violation of California Civil Code § 45 in light of the
 20   fact that plaintiffs in a case on appeal in the D.C. Circuit are currently
 21   seeking a permanent injunction from the Attorney General to declare CDA
 22   § 230 unconstitutional. See American Freedom Defense Initiative et al. v.
 23   Lynch, No. 16-cv-1437, 2016 WL 6635634 (D.D.C. Nov. 9, 2016).
 24                          TWELFTH CAUSE OF ACTION
 25                          Violation of 18 U.S. Code§ 1962
 26                                       Against USD
 27
 28
                             73
      SECOND AMENDED COMPLAINT                          No.: 17-cv-00198-LAB-WVG
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            299. Plaintiff hereby incorporates by reference all stated paragraphs
  2   as though fully set forth herein.
  3         300. Plaintiff brings a Cause of Action under 18 U.S. Code § 1964
  4   against USO for the injuries sustained by Plaintiff.
  5         301. At all relevant times, Defendant USO was a "person" within
  6   the meaning of 18 U.S.C. § 1961(3) because it was "capable of holding a
  7   legal or beneficial interest in property."
  8         302. USO is an "enterprise" within the meaning of 18 U.S.C. §
  9   1961(4), through which Defendant USO conducted the pattern of
 10   racketeering activity described herein. Throughout its existence, the USO
 11   enterprise engaged in, and its activities affected interstate commerce
 12   because it involved commercial activities across state lines, including
 13   national marketing campaigns and the solicitation and receipt of money in
 14   the form of tuition, including federal student loans from the federal
 15   government, from victims located throughout the country. Defendant USO
 16   exercised substantial control over the affairs of the USO Enterprise.
 17          303. Plaintiff alleges USO participated in a pattern of racketeering
 18   activity, as defined by 18 U.S.C. § 1962(5), consisting of numerous and
 19   repeated uses of interstate wire communications to execute a scheme to
 20   defraud in violation of 18 U.S.C. § 1962(c).
 21          304. The fraudulent express misrepresentations by USO of the
 22   terms and stated policies of the University and Department of Public Safety
 23   were created and/or used as tools to carry out the Scheme and pattern of
 24   racketeering activity.
 25          305. Plaintiff alleges Defendant USO has committed at least two
 26   acts of racketeering activity, i.e., indictable violations of 18 U.S.C. § 1343,
 27   within the past ten years. The multiple acts of racketeering activity that
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                             74
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  1   they committed and/or conspired to, or aided and abetted in the
 2    commission of, were related to each other, pose a threat of continued
 3    racketeering activity, and therefore constitute a "pattern of racketeering
 4    activity."
  5          306. Defendant USD's predicate acts of racketeering within the
 6    meaning of 18 U.S.C. § 1961(1) include, but are not limited tb:
  7          (a) Wire Fraud: Defendant USO violated 18 U.S.C. § 1343, by
  8          transmitting and receiving, or causing to be transmitted or received,
  9          materials by wire for the purpose of executing the Scheme, which
 10          amounts to a material scheme to defraud and obtain money on false
 11          pretenses, misrepresentations, promises, and/or omissions.        The
 12          materials transmitted and/or received include but are not limited to,
 13          interstate credit card transactions, publication by Internet promoting
 14          the Scheme, and the fraudulent misrepresentation in USD's
 15          expressly stated policies.
 16          307. Defendant USO knowingly and intentionally made these
 17   misrepresentations, acts of concealment and failures to disclose. Defendant
 18   USO either knew or recklessly disregarded that these were material
 19   misrepresentations and omissions.
 20          308. Defendant USO obtained money and property belonging to
 21   Plaintiff, and the Class as a result of these violations. Plaintiff alleges
 22   Plaintiff and other Class Members been injured in their business or
 23   property by Defendant USD's overt acts of wire fraud.
 24          309. Plaintiff and the Class have been injured in theif property by
 25   reason of USD's violations of 18 U.S.C. § 1962, including the damage
 26   done to Plaintiffs reputation as a result of relying on USD's fraudulent
 27   misrepresentation, which collectively amounts to tens of millions of
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                             75
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      dollars, plus the tuition revenues USD obtained off the fraudulent
 2    misrepresentations. In the absence of Defendant USD's violations of 18
 3    U.S.C. § 1962, Plaintiff and the Class would not have incurred these losses.
 4          310. Plaintiffs and the Class's injuries were directly and
  5   proximately caused by Defendant USD's racketeering activity.
  6         311. USD knew and intended that Plaintiff and the Class would
  7   rely on the Scheme's fraudulent misrepresentations and omissions.
  8   Defendant USD knew and intended Plaintiff, and the Class, would attend
  9   its university and pay tuition, as a result of the same.
 10         312. Under the provisions of 18 U.S.C. § 1964(c), Plaintiff is
 11   entitled to bring this action and to recover their treble damages, the costs of
 12   bringing this suit and reasonable attorneys' fees.
 13         313. Defendant USD is accordingly liable to Plaintiff and the Class
 14   for three times their actual damages as proved at trial plus interest and
 15   attorneys' fees.
 16                      THIRTEENTH CAUSE OF ACTION
 17                                Breach of Contract
 18                         Against University of San Diego
 19         314. Plaintiff hereby incorporates by reference all stated paragraphs
 20   as though fully set forth herein.
 21          315. Plaintiff alleges USD breached several contracts between USD
 22   and Plaintiff, as well as between USD and all other individuals similarly
 23   situated.
 24          316. Not only did USD breach several contractual duties it
 25   expressly promised to Plaintiff and all other individuals similarly situated
 26   such as the several express contractual duties stated above, but Plaintiff
 27   relied on these promises made by USD to her detriment.            Specifically,
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                             76
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      Plaintiff relied on the promise that USD would provide a safe campus, as
  2   referenced above. Not only did USD fail to uphold its express promises
  3   made to Plaintiff and all other individuals similarly situated, USO gave
  4   preferential treatment to individuals whom Plaintiff alleges violated federal
  5   terrorism laws.
  6                     FOURTEENTH CAUSE OF ACTION
  7         Intentional and/or Negligent Infliction of Emotional Distress
  8                                   Against USD
  9         317. Plaintiff hereby incorporates by reference all stated paragraphs
 I0   as though fully set forth herein.
 11         3.18. Plaintiff brings a cause of action against USD for intentional
 12   and negligent infliction of emotional distress under California law.
 13         319. Plaintiff alleges that at all times relevant to the matters alleged
 14   in this Complaint, USD owed a duty of care to prevent Plaintiff from being
 15   injured as a result of Doe's conduct.
 16         320. USD breached the aforesaid duty of care owed to Plaintiff by
 17   breaching its contracts with Plaintiff, negligently resulting in Doe's
 18   despicable conduct.
 19          339. As a direct and proximate result of USD's negligent conduct,
 20   Plaintiff suffered extreme mental and emotional distress. Plaintiff feared,
 21   and continues to fear, for her physical safety, and for the safety of her close
 22   family and friends, in addition to the fear that she will continue to be
 23   wrongly accused in the public view due to Doe's conduct. Plaintiff will
 24   likely incur medical expenses, including expenses for psychiatric care and
 25   psychological counseling services.
 26          321. Plaintiff respectfully reserves the right to further amend this
 27   complaint.
 28
                             77
      SECOND AMENDED COMPLAINT                       No.: 17-cv-00198-LAB-WVG
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                     EXTORTION AND HOBBS ACT VIOLATIONS
  2          322. 18 U.S.C. § 875(d) states:
  3                 Whoever, with intent to extort from any person, firm,
      association, or corporation, any money or other thing of value, transmits in
  4   interstate or foreign commerce any communication containing any threat to
  5   injure the property or reputation of the addressee or of another or the
      reputation of a deceased person or any threat to accuse the addressee or any
  6   other person of a crime, shall be fined under this title or imprisoned not
  7   more than two years, or both.
  8                Please see 18 U.S.C. § 875(d).

  9          323. 18 U.S.C. § 195l(a) states:
                    Whoever in any way or degree obstructs, delays, or affects
 10   commerce or the movement of any article or commodity in commerce, by
 11   robbery or extortion or attempts or conspires so to do, or commits or
      threatens physical violence to any person or property in furtherance of a
 12   plan or purpose to do anything in violation of this section shall be fined
 13   under this title or imprisoned not more than twenty years, or both.
 14                Please see 18 U.S.C. § 195l(a).

 15          324. Subsection (b) continues
                   As used in this section -
 16                (2) The term "extortion" means the obtaining of property from
 17   another, with his consent, induced by wrongful use of actual or threatened
      force, violence, or fear, or under color of official right.
 18
                   Please see 18 U.S.C. § 195l(b).
 19
                         FIFTEENTH CAUSE OF ACTION
 20
              Extortion & Conspiracy to Commit Extortion Against Twitter
 21
            325. Plaintiff hereby incorporates by reference all stated paragraphs
 22
      as though fully set forth herein.
 23
            326. Plaintiff alleges violations of Il8 U.S.C. § 875(d) and 18
 24
      U.S.C. § 1951} against Twitter including actual extortion as defined under
 25
      18 U.S.C. § 195l(b) through the wrongful use of actual and threatened
 26
      force, violence, and fear, conspiracy to commit extortion, and transmission
 27
 28
                             78
      SECOND AMENDED COMPLAINT                       No.: 17-cv-00198-LAB-WVG
Case 3:17-cv-00198-LAB-WVG Document 79 Filed 08/27/18 PageID.2301 Page 100 of 132




        in interstate commerce communication containing threats to injure the
  2     property and reputation of Plaintiff.
  3           327. As explained above, Plaintiff alleges Twitter working in
  4     conjunction with Perkins Coie, LLP and/or USO, attempted intimidation
   5   . against Plaintiff in the form of actual physical harm of Plaintiff in the
   6    serious 02/20/2017 automobile collision and threatened harm to Plaintiff
   7    physically, financially and reputationally, with actual harm resulting to
   8   Plaintiff.
   9          Plaintiff further alleges @That AC harassment crosses the line into
  10    defamation. Please see Exhibits xxx. At the very least, it is reasonable for
  11    Ms. Dehen to believe that@That AC is somehow related to one of the
  12    defendants in the case due to the fact that he has been incessantly harassing
  13    her for over a year even though she blocked him on Twitter out of
  14    desperation to keep the CDA § 230 from being overturned. On June 24,
  15    2018, @That AC publicly requested an interview with Mr. Aly, Ms. Dehen
  16    alleges to taunt and intimidate Ms. Dehen as an agent of defendant(s).
  17           @That AC seems to have a pattern of intimidating individuals on
  18    social media, although he somehow remains anonymous. Ms. Dehen
  19    alleges @That AC is actually an agent of Perkins Coie, LLP or Twitter,
  20    and is activ~ly working to censor potential plaintiffs from exercising their
  21    rights in a court of law. Ms. Dehen alleges @That AC attempts to gain
  22    information through non-disclosure agreements which require his identity
  23    remain anonymous so that he can continue illegally extorting and defaming
  24    individuals, such as Ms. Dehen here, into dropping their case on behalf of
  25    Twitter and/or Perkins Coie, LLP. If@That AC is not an agent through
  26    payment, consultation, or any sort of inside connection, then it should be a
  27    non-issue in discovery.
  28
                               79
        SECOND AMENDED COMPLAINT                        No.: 17-cv-00198-LAB-WVG
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  2                        SIXTEENTH CAUSE OF ACTION
  3             Extortion & Conspiracy to Commit Extortion Against Perkins
  4                                        Coie LLP
   5          328. Plaintiff hereby incorporates by reference all stated paragraphs
  6    as though fully set forth herein.
  7           329. Plaintiff alleges violations of 18 U.S.C. § 875(d) and 18
   8   U.S.C. § 1951 against Perkins Coie, LLP including actual extortion as
   9   defined under 18 U.S. C. § 1951 (b) through the wrongful use of actual and
  I0   threatened force, violence, and fear, conspiracy to commit extortion, and
  11   transmission in interstate commerce communication containing threats to
  12   injure the property and reputation of Plaintiff.
  13          330. As explained above, Plaintiff alleges Perkins Coie, LLP
  14   working in conjunction with Twitter and/or USO, attempted intimidation
  15   against Plaintiff in the form of actual physical harm of Plaintiff in the
  16   serious 02/20/2017 automobile collision and threatened harm to Plaintiff
  17   physically, financially and reputationally, with actual harm resulting to
  18   Plaintiff.
  19          331. Perkins Coie, LLP has come under public scrutiny recently for
  20   engaging in criminal acts on behalfof and in conjunction with its clients.
  21   Plaintiff alleges Perkins Coie threatened and intimidated her personally.
  22                      SEVENTEENTH CAUSE OF ACTION
  23                Extortion & Conspiracy to Commit Extortion Against USD
  24          332. Plaintiff hereby incorporates by reference all stated paragraphs
  25   as though fully set forth herein.
  26          333. Plaintiff alleges violations of 18 U.S.C. § 875(d) and 18
  27   U.S.C. § 1951 against USO including actual extortion as defined under 18
  28
                              80
       SECOND AMENDED COMPLAINT                       No.: 17-cv-00198-LAB-WVG
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  1    U.S.C. § 195l(b) through the wrongful use of actual and threatened force,
  2    violence, and fear, conspiracy to commit extortion, and transmission in
  3    interstate commerce communication containing threats to injure the
  4    property and reputation of Plaintiff.
  5           334. As explained above, Plaintiff alleges USD working in
  6    conjunction with Twitter and/or Perkins Coie, LLP, attempted intimidation
  7    against Plaintiff in the form of actual harm of Plaintiff from the negative
  8    news articles, as well as threatened harm to Plaintiff financially and
  9    reputationally, with actual harm resulting to Plaintiff.
 10                          EIGHTEENTH CAUSE OF ACTION
 11                     Violation of 15 U.S.C. § 1 Against Twitter, Inc.
 12           Plaintiff hereby incorporates by reference all stated paragraphs as
 13    though fully set forth herein.
 14           On May 8. 2017. then-Director of the Federal Bureau of
 15    Investigation James B. Corney. issued a statement titled The FBI and the
 16    ADL: Working Together to Fight Hate. Please see
 17    https ://www. fbi. gov/news/speeches/the- tb i-and-the-ad 1-workin g-together-
 18    to-fight-hate.
  19          On July 28. 2018, The Dailv Caller reported that the FBI has an
 20    ongoing relationship with the letl-wing SPLC (Southern Poverty Law
 21    Center), which once put 2016 Republican Presidential Candidate Dr. Ben
 22    Carson on an 'Extremist Watch List'. Please see
 23    http://dailycaller.com/2018/07 /28/splc-fbi-partnership/.
 24           On October 10, 2017, CNET reported in Anti-Defamation League.
  25   tech firms team to fight online hate that Facebook, Twitter, Google and
 26    Microsotl are among the companies joining forces with the advocacy group
  27   to curb cyberhate. Please see https://www.cnet.com/news/adl-anti-
  28
                              81
       SECOND AMENDED COMPLAINT                        No.: 17-cv-00198-LAB-WVG
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       defamation-league-facebook-twitter-google-hate-speech/. The article
  2    reported, "[t]hey' ll exchange ideas and develop strategies to try to curb
  3    hate speech and abuse on the companies' various platforms and across the
  4    internet." Id.
  5          On August 17, 2018, Mr. Tucker Carlson with Fox News reported.
  6    "recently many of the biggest tech companies joined in a coordinated effort
  7    to censor content from broadcaster Alex Jones. Apple, Facebook, Spotify,
  8    Vimeo. YouTube, Twitter, all of them, pulled or froze Jones' accounts on
  9    the grounds that his views are too dangerous to be heard publicly." Please
 I0    see https://www.youtube.com/watch?v~FGcMh4Ki4 YE.
 11           Plaintiff alleges Twitter is engaged in a conspiracy to restrain trade
 12    in the form ofinfonnation with viewpoints it does not like, which becomes
 13    a First Amendment violation due to Congress enacting CDA § 230, which
 14    Twitter claims bars all types of lawsuits against it for otherwise actionable
 15    illegal conduct. Twitter is involved in this conspiracy with various big tech
 16    companies, such as Facebook, YouTube, Google, Apple, and maybe even
 17    governmental agencies such as the FBI.
 18           Plaintiff alleges an illegal conspiracy in the restraint of trade between
 19    Twitter, Inc., and its law ti rm, Perkins Coie, LLP.
 20           Plaintiff alleges she sustained direct injuries from Twitter's
 21    conspiracy in the restraint of trade with its law firm. Perkins Coie, LLP.
 22           Plaintiff alleges Twitter, Inc. is conspiring with its law firm. Perkins
 23    Coie. LLP, other tech companies, and agents of various agencies, such as
 24    the Federal Bureau oflnvestigation, and political organizations such as the
 25    Democratic National Committee, and certain donors, co-conspirators,
  26   investors such as Billionaire George Soros.
  27
  28
                              82
       SECOND AMENDED COMPLAINT                        No.: 17-cv-00198-LAB-WVG
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             Plaintiff alleges Twitter is conspiring in the restraint of trade against
  2    Plaintiff personally by conspiring with each other to use the CDA § 230 to
  3    justify their illegal fraudulent behavior of misrepresenting in Twitter's
  4    Terms of Use
  5                         NINETEENTH CAUSE OF ACTION
  6                 Violation of 15 U.S.C. § 1 Against Perkins Coie, LLP
  7          Plaintiff hereby incorporates by reference all stated paragraphs as
  8    though fully set forth herein.
  9          In Green v. YouTube (Case No.: 18-CV-00203-PB in District Comt
 10    for the District ofNew Hampshire), attorneys Timothy J. McLaughlin and
 11    Ryan Mrazik, represented Twitter, Inc., and YouTube, LLC citing the CDA
 12    § 230 against Mr. Green's claims which include claims regarding the fact

 13    that he has been illegally censored, banned, and shut down on two different
 14    YouTube accounts and his Twitter account, among other things (further
  IS   described when Plaintiff amends and files Third Amended Complaint).
 16    Please see Exhibit xxx.
 17           Mr. Mrazik with Perkins Coie, LLP, attempted to represent Twitter,
  18   Inc. pro hac vice in this case, which Judge Benitez denied. Please see Mr.
  19   Mrazik's Pro Hae Vice application.
 20           Plaintiff alleges a conspiracy between Perkins Coie, agents of
 21    Perkins Coie, and its clients, such as Twitter here in this case. Agents of
  22   Perkins Coie are conspiring with each other and Perkins Coie is conspiring
  23   with its clients to assist, maybe even perpetuate, illegal conduct which
  24   directly harmed. and continues to harm. Ms. Dehen.
  25          Plaintiff respectfully requests additional time to develop these claims
  26   and file her Third Amended Complaint.
  27                          TWENTIETH CAUSE OF ACTION
  28
                              83
       SECOND AMENDED COMPLAINT                        No.: I 7-cv-00198-LAB-WVG
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  I                Violation of 15 U.S.C. § 1 Against University of San Diego
  2           Plaintiff hereby incorporates by reference all stated paragraphs as
  3    though fully set forth herein.
  4           Agents ofUSD are conspiring together, and USD is conspiring with
  5    various law enforcement agencies in the restraint of trade, against Plaintiff
  6    by conspiring to cover up illegal activity, which USD is at least negligently
  7    liable for, with the intention to prevent Ms. Dehen from having her day in
  8    Court to recover significant damages for monetary and emotional injuries
  9    she sustained, and continues to sustain, due to the conspiracies in the
 10    restraint of trade.
 11           Plaintiff needs additional time to develop this claim and respectfully
 12    requests leave of court to amend this complaint and file her Third Amended
 13    Complaint.
 14                              PRAYER FOR RELIEF
 15    WHEREFORE, Plaintiff prays for judgment as follows:
 16           I.     Accept jurisdiction over this action;
  17          2.     For the Court to compel Twitter to provide the email address
  18   John Doe used to sign up for the offending Twitter account so that Plaintiff
  19   may request the Court to authorize service of the summons and complaint
 20    on Defendant Doe by email to his "published and last known valid email
 21    addre_ss without requirement of return receipt" under Federal Rules of Civil
  22   Procedure 4(1)(3) and 4(h)(2);
  23          3.     That Defendant Doe(s) be permanently enjoined from
  24   infringing Plaintiff's copyrights in any manner, specifically those related to
  25   the Infringing Works;
  26
  27
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                              84
       SECOND AMENDED COMPLAINT                       No.: 17-cv-00198-LAB-WVG
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             4.        That Defendant Doe(s) be permanently enjoined from
  2    publishing defamatory statements about Plaintiff such as those set forth
  3    herein;
  4          5.        That Defendant Twitter be permanently enjoined from
  5    publishing the fraudulent misrepresentation in its Terms of Use;
  6          6.        That   Defendant    USO    be   permanently    enjoined      from
  7    publishing the fraudulent misrepresentations on its website;
  8          7.        That Defendant USO, and all American Universities operating
  9    on or off American soil receiving federal funds, such as in the form of
 10    federal student loans, be ordered to comply with United States Federal law,
 11    particularly in regards to terroristic threats and terroristic activities which
 12    could reasonably foreseeably harm American and foreign students on
 13    American soil;
 14          8.        That Defendants Perkins Coie LLP, Twitter, Inc., and
 15    University of San Diego be permanently enjoined, fined and the attorneys
 16    at Perkins Coie sanctioned for engaging in Hobbs Act violations.
  17             9.    For economic damages according to proof at trial;
  18             10.   For punitive damages according to proof at trial;
  19             11.   For prejudgment interest to the extent recoverable by law;
 20              12.   For attorney's fees to the extent recoverable by law or
 21    contract;
  22             13.   For costs of suit; and
 23              14.   For such other and further relief as the Court may deem just
  24   and proper.
  25             15.   Plaintiff reserves the right to bring additional claims against
  26   including but not limited to the Democratic National Committee, the FBI,
  27
  28
                              85
       SECOND AMENDED COMPLAINT.                        No.: 17-cv-00198-LAB-WVG
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       the DOJ, San Diego Police Department, the City of San Diego, Homeland
  2    Security, and the State Department.
  3                       DEMAND FOR TRIAL BY JURY
  4    A TRIAL BY JURY PURSUANT TO FEDERAL RULE OF CIVIL
   5   PROCEDURE 38 AND CONSTITUTIONAL AMENDMENT SEVEN IS
   6   HEREBY DEMANDED.
   7
   8   Dated: April 6, 2018
   9                                                       Respectfully submitted,
  IO
  11                                                              Tiffany L. Dehen
  12                                                    1804 Garnet Avenue, #239
  13                                                      Pacific Beach, CA 92109
  14                                                            Tel. 858-262-0052
  15                                                   Tiffany.Dehen@Gmail.com
  16
  17                                                               Pro Se Plaintiff.
  18
  19
  20
  21
  22
  23
  24                          CERTIFICATE OF SERVICE
  25         The undersigned hereby certifies that a true and correct copy of the
  26   foregoing document has been served on April 6, 2018 by express delivery
  27   with signature confirmation, postage pre-paid, to all current and/or
  28
                              86
       SECOND AMENDED COMPLAINT                      No.: 17-cv-00198-LAB-WVG
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      opposing counsel of record, if any to date, who are deemed to have
  2   consented to electronic service via the Court's CM/ECF system per Local
  3   Rule 5.4( d).
  4
  5          Dated April 6, 2018
  6
  7
  8                                         Tiffany L. Dehen
  9
 10                                         Pro Se Plaintiff.
 11
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      SECOND AMENDED COMPLAINT                     No.: 17-cv-00198-LAB-WVG
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          3:17-cv-00198-LAB-WVG Document 79 Filed 08/27/18 PageID.2310 Page 109 of 132
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OFFICER'S NARRATIVE:

On 07-09-16 at about 1000 hours, I responded to a radio call to investigate a possible act of terrorism. The
reporting party Stephanie Meyers called police advising a Middle Eastern male, who her friend Tiffany
knows, was at Tiffany's residence and claimed to be part of ISIS. The location of the incident occurred at
4621 Lamont St #5A, San Diego, Ca. 92109 (incident number 160700160).

Upon arrival, I checked the surrounding area of the apartment complex for the male along with his vehicle
which was described on the radio call. I could not locate either at the time of my investigation.

I spoke with the second reporting party at the location of the incident who I identified as Tiffany Dehen via a
California ID. Dehen advised me an aquantaince she attends law school with was standing in front of her
apartment complex and was part of ISIS which made her fearful for her safety (See Dehen's full statement
below).

As Dehen was speaking, she was speaking very loudly and frantically about the situation. Dehen later
regained her composure and left her apartment to go stay with her friend Meyers until the incident was
resolved.

STATEMENT OF TIFFANY LEIGH DEHEN (REPORTING PARTY):

Dehen advised me a couple minutes prior to my arrival, a Middle Eastern male named Mohammed Aly
which she knows was standing in front of her apartment complex near his vehicle. Aly did not say anything
to her or do anything but was only standing near his vehicle. Dehen stated he later was attempting to get
something out of his vehicle but she did not know what it was.

Dehen advised me she knew Aly through school. They are both third year law school students at the
University of San Diego. Dehen advised me the reason why she was fearful of Aly was because in October
of this year, Aly told her at a law school event "mixer" that he was an ISIS sleeper cell and was awaiting to
be activated.

Dehen described Aly as a Middle Eastern male, black long curly hair, brown eyes, 5'07, and 1501bs, small
beard, unknown date of a birth but believed him to be about 26-27 years in age. He was seen wearing no
shirt and dark shorts. Dehen did not know Aly's address but stated his parents used to rent a place at 401
W. Main St., El Cajon, Ca. Dehen described Aly's vehicle as a white Honda (unknown license plate).

Approved By: A/Sgt. Sanders #6611




   REPORTING OFFICER               l.D.#     DIVISION                                         AGENCY                                         DATE OF REPORT                      T!ME
   JOSEPH ELISMA                   7378      N1                                               SDPO                                           71912016                            12:24
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REPORTING OFFICER               l.D.#   DIVISION         AGENCY         DATE OF REPORT            TIME
JOSEPH ELISMA                   7378    N1               SDPD           7/9/2016                  12:24
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    That Anonymous Coward - As seen on several dockets @Thci ... · Aug 1l               v·



•    'MERI KA!


       Tommy Chong          @tornrnychong
       This is the state that had me incarcerated for 9 months for shipping Bongs
       across state lines to the DEA. twitter.com/Newsweek/statu ...




.    That Anonymous Coward - As seen on several dockets @Tha... · Aug I/ v·


•    These notices are totally legit. .. thats why we pay top dollar to get them & the
     experts (who have multiple failed piracy efforts in their past) to testify b/c a
     Judge thinks accusations are actual evidence.


                            RIAA Paid Handsomely for BitTorrent Piracy Eviden ...
                            Anti-piracy outfit Rightscorp has profited handsomely
                            from the music industry's efforts to hold ISPs
                            accountable for pirating subscribers. According to a




     C)
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                               UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW HAMPSHIRE



       ISAAC GREEN,
                                                                Civil No. 18-CV-203-PB
             Plaintiff,

             v.

    YOUTUBE, INC., ET AL.,

             Defendants.




                 DEFENDANTS GOOGLE LLC AND YOUTUBE, LLC'S
         MOTION TO DISMISS OR, IN THE ALTERNATIVE, TO TRANSFER VENUE

           Defendants Google LLC ("Google") and YouTube, LLC ("YouTube") 1 move jointly,

   pursuant to Federal Rule of Civil Procedure 12(b)(6), to dismiss the complaint in its entirety or,

   in the alternative, and pursuant to 28 U.S. C. § l 404(a), that the Court transfer the case to the

   United States District Court for the Northern District of California. In support of this motion,

   Google and YouTube state as follows:

                  1. Google and YouTube have today filed a Memorandum of Points and Authorities

                     in Support of this Motion.

                  2. A proposed order is attached hereto.

           WHEREFORE, Google and YouTube respectfully request that the Court grant this

   motion.


   1
    Plaintiff named "Google, Inc." as a defendant. The entity's correct name is "Google LLC."
   Plaintiff also named "YouTube, Inc." as a defendant. The entity's correct name is "YouTube,
   LLC."
                                                      1
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                                                        Respectfully submitted,

                                                        Counsel for Defendants Google LLC and
                                                        YouTube, LLC,

   May 8, 2018                                          Isl Timothy J. McLaughlin
                                                        Timothy J. McLaughlin (NH Bar# 19570)
                                                        107 Storrs Street
                                                        Concord, NH 03301
                                                        1(603)225-7262
                                                        trn cl aughl i n@s haheen go rd on. com

                                                        Ryan Mrazik (motion for pro hac vice
                                                        admission to be filed)
                                                        Perkins Coie LLP
                                                        1201 Third Avenue, Suite 4900
                                                        Seattle, WA 98101
                                                        RM rnzi krli)perki nscoi e.~om


                                   CERTIFICATE OF SERVICE

          I hereby certify that on this date, the foregoing was served by the Court's electronic filing
   system on all counsel and parties of record as well as parties not registered on the Court's
   CM/EFC system by U.S. mail.

                                                 Isl Timothy J. McLaughlin
                                                 Timothy J. McLaughlin




                                                    2
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                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW HAMPSHIRE

   ISAAC GREEN,

                 Plaintiff,

         v.                                                Civil No. 18-CV-203-PB

   YOUTUBE, INC., ET AL.

                  Defendants.



          JOINT OBJECTIONS OF TWITTER, INC. AND YOUTUBE, LLC TO
     PLAINTIFF'S MOTION TO REINSTATE AND ALLOW LAWFUL ACCESS (DKT. 9)

                                       I.      INTRODUCTION

           Defendants Twitter, Inc. ("Twitter") and YouTube, LLC ("YouTube") (co11ectively,

   "Defendants") request that the Court deny Plaintiff Isaac Green's ("Plaintiff') Motion to

   Reinstate & Allow Lawful Access ("Motion"), Dkt. 9. Plaintiff appears to be seeking

   preliminary injunctive relief in the form of access to online accounts on Twitter and YouTube-

   he wants "restoration of his virtual property" and to be allowed "virtual access to live streaming

   with an audience." This Motion fails and should be denied because Plaintiff has not shown the

   strong likelihood of success on the merits or irreparable harm necessary to obtain preliminary

   injunctive relief.

                                 IT.        FACTUALBACKGROUND

           Plaintiff filed his Complaint on March 5, 2018, Dkt. 1, and also filed at least three

   motions that day. See Dlcts. 2-3, 5. On May 8, 2018, Defendants moved to dismiss Plaintiff's

   Complaint and responded to the motions. See Dlcts. 24-25. Plaintiff separately filed the instant

   Motion alleging that <l) "YouTube, and Twitter have prevented the Plaintiff from 'live

   streaming,"' and (2) "YouTube has also closed a channel, tampered with a 2nd channel, and put


                                                     1
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      an unlawful warning on a newly listed video." See Dk:t. 9 at 1. In the Motion, Plaintiff asks "that

      the court reinstate Plaintiffs virtual property and lawful access to the services of all sites," and

      for "the restoration of his virtual property, with sanctions ordered if [Defendants] tamper with it

      again, and that he be left alone to virtual access to live streaming with an audience." Id.

                                                   ill.     ARGUMENT

                Plaintiffs Motion appears to seek preliminary injunctive relief in the form of (1) access

      to the purported "livestreaming" features of Defendants' online services or (2) access to his

      You Tube account. 1 Regardless of whether the relief sought is a preliminary injunction or

      temporary restraining order, it should be denied. Plaintiff has not shown a strong likelihood of

      success on the merits of his claims-as set out in Defendants' Motions to Dismiss, Dkts. 24-25,

      Plaintiff's Complaint is meritless-or the irreparable harm necessary for preliminary injunctive

      relief.

      A.        Plaintiff's Motion Seeking Preliminary Injunctive Relief Should Be Denied Because
                Plaintiff Has Not Shown a Strong Likelihood of Success or Irreparable Harm.

                1.      Legal Standard for Preliminary Injunctive Relief

                A party seeking preliminary injunctive relief"bears the burden of showing that the

      circumstances of the case justify the exercise of the court's discretion." Respect Maine PAC v.

      McKee, 622 F.3d 13, 15 (1st Cir. 2010) (citing Nken v. Holder, 556 U.S. 418, 432-433 (2009)).

      Courts consider four factors: "(1) whether the applicant has made a strong showing that he is

      likely to succeed on the merits; (2) whether the applicant will be irreparably injured absent relief;

      (3) whether issuance ofrelief will substantially injure the other parties interested in the

      proceeding; and (4) where the public interest lies." Id. (citingNken, 556 U.S. at 426); see also

      Nw. Bypass Grp. v. US. Army Corps of Engineers, 453 F. Supp. 2d 333, 337 (D.N.H 2006) ("To


  .
      1
       It is unclear what exactly Plaintiff is claimi~. Defendants have done their best to address the issues raised and
      apparent relief sought, but reserve the right to address additional issues later.


                                                                2
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   determine whether to issue a temporary restraining order, this Court applies the same four-factor

   analysis used to evaluate a motion for preliminary injunction."). 2

           "The first two factors are the most critical. Both require a showing of more than mere

   possibility. Plaintiffs must show a strong likelihood of success, and they must demonstrate that

   irreparable injury will be likely absent an injunction." Respect Maine PAC, 622 F.3d at 15 (citing

   Winter v. Natural Res. Def Council, Inc., 555 U.S. 7 (2008)); see also Matos ex rel. Matos v.

   Clinton Sch. Dist., 367 F.3d 68, 73 (1st Cir. 2004) ("In most cases[,] ... irreparable harm is a

   necessary threshold showing for awarding preliminary injunctive relief." A plaintiff must

   "demonstrate a realistic prospect of irreparable harm[.]") (citing Phillips v. Marsh, 687 F.2d 620,

   622 (2d Cir. 1982)). "[T]raditional economic damages can be remedied by compensatory awards,

   and thus do not rise to the level of being irreparable." Vaqueria Tres Monjitas, Inc. v. Irizarry,

   587 F.3d 464, 485 (1st Cir. 2009) (citing Puerto Rico Hosp. Supply, Inc. v. Boston Scientific

   Corp., 426 F.3d 503, 507 (!st Cir. 2005)). "[T]he predicted harm and the likelihood of success

   on the merits must be juxtaposed and weighed in tandem" to determine whether injunctive relief

   is warranted. Ross-Simons of Warwick, Inc. v. Baccarat, Inc., 102 F.3d 12, 19 (1st Cir. 1996).

            2.       Plaintiffs Claim that Defendants Have Prevented "Live Streaming"

           Plaintiff alleges in his Motion that Defendants have "prevented" him "from 'live

   streaming"' and that "this access has been stripped, and unlawfully denied to the Plaintiff." Dkt.

   9 at I. From there, he argues that the "first Amendment [sic] protects the Plaintiff with his own

   free speech" and that Defendants do not "have any lawful or federal ability to prevent live



   2 To  the extent Plaintiff is seeking a temporary restraining order, he has not complied with Rule 65(b), which
   requires him to provide "specific facts in an affidavit or a verified complaint [that] clearly sl1ow that immediate and
   irreparable injury, loss, or damage will result to the movant before the adverse party can be heard in opposition; and
   ... the movant's attorney [t]o certif[y] in writing any efforts made to give notice and the reasons why it should not be
   required."


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   streaming, nor to take hold of his channel." Id. This appears to be tied to Plaintiffs claim in his

   Complaint that YouTube violated the First Amendment by restricting his access to and use of its

   service. There is no corresponding claim against Twitter-the only claim against Twitter is that

   it automatically unsubscribed followers from Plaintiff's account. Dkt 1.              ~   6. Regardless,

   Plaintiff now asks the Court to order Defendants to "restore" his ability to livestream on

   YouTube and Twitter. See id. ("that he be left alone to virtual access to live streaming with an

   audience").

           As set out in Defendants' respective motions to dismiss, however, Plaintiff cannot show a

   strong likelihood of success on the merits of his claims against either Twitter or YouTube.

           First, as to Twitter, the only allegation in the Complaint is that Twitter automatically

   unsubscribed followers from Plaintiff's account, see Dkt 1.            ~   6, so there is no factual basis

   whatsoever for Plaintiffs current claim that Twitter is preventing him from "livestreaming."

           Second, as to You Tube, Plaintiff says in his Complaint that You Tube limited access to ,

   his account or channel (and, therefore, presumably to any livestreaming features), and asserts

   that YouTube is therefore liable for constitutional violations. YouTube cannot, however, be held

   liable for constitutional violations because it is not a state actor. See Dkt. 24-1at7-8; Dkt. 25-1

   at 7-8. Further, to the extent Plaintiff is asking the Court to force YouTube to allow content on

   its site (i.e., Plaintiffs livestreaming videos), any such order would run afoul of the

   Communications Decency Act ("CDA"), 47 U.S.C. § 230, and violate YouTube' sown First

   Amendment rights to decide what content is displayed on its platforms. See Dkt. 25-1 at 14-17. 3




   3
     To the extent Plaintiff is now ascribing the same or similar conduct to Twitter, Twitter joins in the arguments
   presented by YouTube. Plaintiff did not make such claims as to Twitter in his Complaint, however, claiming only
   that Twitter unsubscribed followers from his account.


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           Lastly, to the extent this request for preliminary injunctive relief is based on a different

   cause of action against either Twitter or YouTube, it fails because there are no viable causes of

   action in Plaintiffs Complaint (indeed, many of his claims are not even causes of action).

           Additionally, Plaintiff has made no showing of irreparable harm. Plaintiff must show

   more than a mere "possibility" of irreparable harm. He must "demonstrate that irreparable injury

   is likely [unless the Court orders immediate relief]." Winter, 555 U.S. at 22. "Speculative injury

   cannot be the basis for a finding of irreparable harm." In re Excel Innovations, Inc., 502 F.3d

   1086, 1098 (9th Cir. 2007). Plaintiff claims only that he has been unable to livestream, but has

   not explained-nor can he-how this alleged deprivation irreparably harmed him.

           3.      Plaintifrs Claim that YouTube Closed or Tampered with His Accounts
           Plaintiff claims in his Motion that You Tube has "closed a channel, tampered with the 2nd

   channel, and put an unlawful warning on a newly listed video." Dkt. 9 at 1. As set out in

   Google's and YouTube's Motion to Dismiss, however, any claims based on these facts (or

   similar ones) are meritless. See Dkt. 25. Most of the claims Plaintiff brings are not even causes

   of action; Plaintiff has not pied the elements of any remaining claims; Google and YouTube

    cannot be liable for any purported constitutional violations because they are not state actors; and

    any claims against Google or YouTube arising out of their editorial decisions to remove content

    or close accounts are barred by the CDA and First Amendment in any event. See Dkt. 25-1 at 5-

    19.

           And once again, Plaintiff has made no showing of irreparable harm, which requires more

    than a mere "possibility" of harm. He must show the injury is "likely" absent immediate relief,

    Winter, 555 U.S. at 22, and cannot rely on"[ s]peculative injury," In re Excel Innovations, Inc.,

    502 F.3d at 1098. Plaintiff claims only that YouTube has "closed" one channel, "tampered" with

    another, and put a warning on a video he does not identify. Notably absent is any explanation


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   about how these alleged actions irreparably harmed Plaintiff. And to the extent this claim (or

   any other) is related only to having lost money, that type of harm is not irreparable. See Vaqueria

   TresMonjitas, 587 F.3d at485 ("traditional economic damages" that, if proven could "be

   remedied by compensatory awards" ... "do not rise to the level of being irreparable.").

   B.        The Court Should Deny PlaintiWs Request for Sanctions.
             Plaintiff also asks for "sanctions" against Defendants if they "tamper with [his accounts]

   again." Dkt. 9 at 1. There is no legal or factual basis for a preliminary injunction, let alone for

   sanctions, particularly based on speculative, uncertain future conduct. This request should be

   denied.

                                          IV.     CONCLUSION

             Defendants respectfully request that the Court deny Plaintiffs Motion.

                                                           Respectfully submitted,

                                                           Counsel/or Defendants Twitter, Inc. and
                                                           YouTube, LLC

             May22, 2018                                   Isl Timothy J. McLaughlin
                                                           Timothy J. McLaughlin (NH Bar# 19570)
                                                           107 Storrs Street, P.O. Box 2703
                                                           Concord, NH 03301
                                                           (603) 225-7262
                                                           tmclaughlin@shaheengordon.com

                                                           Ryan Mrazik (motion for pro hac vice
                                                           admission to be filed)
                                                           Perkins Coie LLP
                                                           1201 Third Avenue, Suite 4900
                                                           Seattle, WA 98101
                                                           Rmrazik@perkinscoie.com




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                                       CERTIFICATE OF SERVICE

          I hereby certify that on this date, the foregoing was served by the Court's electronic filing
   system on all counsel and parties of record as well as parties not registered on the Court's
   CM/ECF system by U.S. mail.

                                                        /s/ Timothy J. McLaughlin
                                                        Timothy J. McLaughlin




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                 THE STATE BAR                                   OFFICE OF CHIEF TRIAL COUNSEL
                                                                                 INTAKE UNIT
                 OF CALIFORNIA                                 Melanie J. Lawrence, Interim Chief Trial Counsel
                 845 SOUTH FIGUEROA STREET, LOS ANGELES, CALIFORNIA 90017-2515            TELEPHONE: (213)765-1000
                                                                                                 FAX: (213)765-1168
                                                                                              http://www.calhar.ca.gov


August 3, 2018

Tiffany Dehen
1804 Garnet Avenue, #239
San Diego, CA 92109

RE:    Inquiry Number:          18-20845
       Respondent:              Mohanuned Aly

Dear Ms. Dehen:

The State Bar's Office of Chief Trial Counsel has reviewed your complaint against Mohannned Aly to
determine whether there are sufficient grounds to prosecute a possible violation of the State Bar Act
and/or Rules of Professional Conduct.

You have stated that Mr. Aly stalked and harassed you in law school, and told you that he was an enemy
combatant of the United States and in an ISIS sleeper cell. You further alleged that Mr. Aly that was the
subject of a criminal investigation with the FBI. You explained that you sued Mr. Aly in federal court.
You also stated that Mr. Aly has terrorized you personally and is unfit to practice law. Your complaint
stated that Mr. Aly has held himself out as homeless, which you do not believe to be true. You also
alleged that Mr. Aly has a criminal record. It appears that Mr. Aly was convicted of misdemeanor
trespassing in 2017.

Based on our evaluation of the information provided, we are closing your complaint. In order to
investigate allegations of attorney misconduct, the State Bar needs specific facts which, if proved, would
establish a violation of the attorney's ethical duties. Conclusions based on speculation artd not supported
by facts are insufficient to warrant investigation. Although you have generally stated that you do not
believe Mr. Aly is fit to practice law, based on your belief that he is a terrorist and the subject of an FBI
investigation, the material provided does not present sufficient facts to support an investigation into a
potential violation of the State Bar Act and/or Rules of Professional Conduct. Whether Mr. Aly's actions
constitute criminal conduct is a question that the criminal prosecutorial agency of appropriate
jurisdiction is most qualified to investigate. The allegations you have made do not support a finding that
the attorney violated the State Bar Act or the Rules of Professional Conduct.

For these reasons, the State Bar is closing this matter.

If you have new facts and circumstances that you believe may change our determination to close your
complaint, you may submit a written statement with the new information to the Intake Unit for review.
If you have any questions about this process, you may call Deputy Trial Counsel Kelly Gerner at (213)
765-1293. If you leave a voice message, be sure to clearly identify the lawyer complained of, the
inquiry number assigned, and your telephone number including the area code. We should return your
call within two business days.
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Tiffany Dehen
August 3, 2018
Page 2


If you are not aware of new facts or circumstances but otherwise disagree with the decision to close your
complaint, you may submit a request for review by the State Bar's Complaint Review Unit, which will
review your complaint and the Intake Unit's decision to close the complaint. The Complaint Review
Unit may reopen your complaint if it determines that your complaint was inappropriately closed or that
you presented new, significant evidence to support your complaint. To request review by the Complaint
Review Unit, you must submit your request in writing, together with any new evidence you wish to be
considered, post-marked within 90 days of the date of this letter, to:

                                   The State Bar of California
                               .. .:Complaint ReviewJlniL...... .
                                   Office of General Counsel
                                    180 Howard Street
                                   San Francisco, CA 94105-1617

The State Bar cannot give you legal advice. If you wish to consult an attorney about any other remedies
available to you, a certified lawyer referral service can provide the names of attorneys who may be able
to assist you. In order to find a certified lawyer referral service, you may call our automated Lawyer
Referral Services Directory at 1-866-442-2529 (toll free in California) or415-538-2250 (from outside
California) or access the State Bar's website at www.calbar.ca.gov and look for information on lawyer
referral services.

We would appreciate if you would complete a short, anonymous survey about your experience with
filing your complaint. While your responses to the survey will not change the outcome of the complaint
you filed against the attorney, the State Bar will use your answers to help improve the services we
provide to the public. The survey can be found at http://bit.ly/StateBarSurveyl.

Thank you for bringing your concerns to the attention of the State Bar.

Very truly yours,



~(}f4M
Deputy Trial Counsel

 KG/kg
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University of San Diego Mail - Reminder: Dean's October Mixer is today,Tuesday, October 20, 2015
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 Reminder: Dean's October Mixer is today, Tuesday, October 20, 2015

 University of San Diego School of Law <lawstudentaffairs@sandiego.edu>                                     Tue, Oct 20, 2015 at 10:06 AM
 Reply-To: lawstudentaffairs@sandiego.edu
 To: Tiffany Dehen <tiffanydehen@sandiego.edu>



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     Dean's Mixer Image, University of San Diego School of Law




        Dear Tiffany,

        Dean Feri-uolo invites you to the October Mixer. Come mingle with the dean, faculty and
        students while enjoying some festive Oktoberfest fare. While you're there, protect
        yourself this winter season with a flu shot. Flu shots will be available to students,
        faculty and staff during the mixei-. They will be free for students and $20 for faculty
        and staff.                                                              ·

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        4 - 6 p.m.
        Warren Hall Back Patio
        (Flu shots in The Writs)

        We hope to see you the1·et




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University of San Diego Mail - Reminder: Dean's October Mixer is today,Tuesday, October 20, 2015
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                                              OFFICE FOR LAW STUDENT AFFAIRS

    University of San Diego
    School of Law
    5998 Alcala Park
    San Diego, CA 92110-2492

    This message was intende~ for: tiffanydehen@sandiego.edu
    You were added to the system September 12, 2013.
    For more information click here.


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University of San Diego Mail - Security                                               of 132
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 Security

 Tiffany Dehen <tiffanydehen@sandiego.edu>                                                                      Mon, Jul 11, 2016 at 1:31 PM
  To: president@sandiego.edu

    Dear Mr. President,

    In light of recent personal events which I would prefer not to disclose, may I please request increased security
    presence in Warren Hall during my Professional Responsibility class as well as increased security presence around
    the USD legal clinics?

    I only have to come to campus for a couple more weeks while I finish up summer school but I would really appreciate
    the increased security presence to feel safe on campus these last few weeks of class.

     Thank you,

    Tiffany Dehen
     Legal Intern
     USD Federal Tax Clinic
     Tiff211yUSDClinic@gmail.con1
     5998 Alcala Park, BA-305
     San Diego, CA 92110
     Phone: 619-260-7470
     Fax: 619-260-7425




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      That Anonymous Coward - As see •..                                   (   Follow   )   v
      @That_AC
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 f.   @TimCushing So what do you think are
      the chances of someone on Team
      Sociopath (Team TAC!) having
      connections into Orange County ACLU?
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      get his take on his time at USO & Tiff &
      write something up compared to my
      guesses about human nature



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       Plus the lovely irony of the self described immortal sociopath being saner than 1
       of the participants ...
Case 3:17-cv-00198-LAB-WVG Document 79 Filed 08/27/18 PageID.2328 Page 127 of 132




         That Anonymous Cowa   Tweets        Following          Followers    Ukes     Moments
         @That_AC              38.2K           187                507        1,268
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                                        asked for their papers, searched for drugs, having their stuff arrested.
                                        They were sure it would never happen to them, only "bad people"™

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                                        decency isn't really a word they understand.

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                               •        That Anonymous Coward - As seen on several dockets 1}Th2...
                                        Replying to @rnarcorandazza @NotPeoriaMayor
                                        When "We" do it, it is perfectly fine.
                                        When "They" do it, it is an attack of 'Merical!!
                                                                                                            Jun 2.·1




                                        Imagine someone disliked something you did & decided this was the best way to
                                        deal with it. .. of course you can't because in your imagination you would never
                                        offend· anyone ... idiots.

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                                           Verbal abuse hurled at NYPD in yet another videotaped tirade
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                                       Scott Greenfield 1.:Z·S:::ottGree11fielci :Ji1                                        v
                                       Times' endorsement of<.· ,(c't.l'1y1·r,. c·( i~'-·l for NY Attorney General is a fine
                                       choice, but AGs job is to represent the state, not undermine NY law to go to war
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                                             Pretty sure @PerkinsCoieLLP is going to make her regret this. How long until
                                             the antis!app motion drops?


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                                           Virgil Abt @21bt112,lural                    21 Aug 2017                                                     v



                                             ·1·i;,;-   :i,·. 11·.    ~:   Twitter&USD moved to dismiss today. Twitter didn't follow
                                           through on the threat of a fee-shifting anti-SLAPP motion, /1

                                               Your claims againsl Twitter may also be subj~ to other legal challenges. For example, the
                                               lawsuit has been brought in the ,Vrong court, and you have not alleged and cannot allege the
                                               elements of your cl Ill.ms. Finally, the lawsuilseels to hold Twitter liable forexercis!ng its
                                               editorhl rig!its to set and enfutcl) policies for reporting, inveirtigaftng, an~ removing _content, as
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                                               r'Anli-SLAPP'1 Law, Cnl. Civ. Proc. Code§ 425.16, seeking ib attoro.ey's fees and cosb, as
                                               ~u!horill:ed by Jaw,

                                               We look forward to receiviilg confirma6on !hat you will dismiss your claims against Twitter, In
                                               the meantime, Twitter reserves and doe& not waive any o~its rights, arguments, or objections.

                                               Sincerely,



                                               Julie E. Schwartz
Case 3:17-cv-00198-LAB-WVG Document 79 Filed 08/27/18 PageID.2331 Page 130 of 132




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                                    •      That Anonymous Coward - As seen on several dockets .
                                           When Pretenda sued to unmask me, people asked if I was worried .. nope.
                                           I'm smarter than most lawyers ...
                                           Ex: ;:;,;fi;_:· -, ..,'"".

                                           Q               tl


                                   e       BoozyBarrister @BoozyBarrister · 21 Aug 20·17
                                           J:Ufi;31y1·t1·:hi\': continues as USD argues their graduate doesn't understand
                                           FRCP, despite having a USO JD.


                                           I don't know who won on this one.
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Case 3:17-cv-00198-LAB-WVG Document 79 Filed 08/27/18 PageID.2332 Page 131 of 132




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        That Anonymous Coward - As seen on several dockets ... · 22 Jun 20-1 ?"


•       Smart people in the crowd know IANAL, so Law Twitter I have a question.
        When you destroy your reputation, then what?




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        our fees; 6/16 Dehen serves process.

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